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                                    Trevor Rogers
                                 November 21, 2023

 · · · · · · · · · ·UNITED STATES DISTRICT COURT

 · · · · · · · · · ·EASTERN DISTRICT OF MICHIGAN

 · · · · · · · · · · · · SOUTHERN DIVISION

 ·

 · · ·JUSTIN GUY, individually on behalf

 · · ·of himself and others similarly situated,

 · · · · · · · ·Plaintiffs,

 ·

 · · · · · vs.· · · · · · · · · · · Case No. 20-cv-12734

 ·

 · · ·ABSOPURE WATER COMPANY, LLC,

 · · ·a domestic limited liability company,

 · · · · · · · ·Defendant.

 · · ·___________________________

 ·

 · · · · · The Videoconference Deposition of TREVOR ROGERS

 · · · · · Commencing at 11:02 a.m.

 · · · · · Tuesday, November 21, 2023

 · · · · · Before Renee J. Ogden, CSR-3455, RPR.

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 ·1· ·APPEARANCES:

 ·2

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 11· · · · Plaintiffs.

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 20· · · · Appearing on behalf of the Defendants.

 21

 22

 23

 24

 25


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                                    Trevor Rogers
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 ·9

 10

 11· ·ALSO PRESENT:

 12· ·Brooke Leddon

 13· ·Ertis Tereziu

 14· ·Samantha Teal

 15· ·Lucas Schroeder - Video Technician

 16

 17

 18

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 ·1· ·Tuesday, November 21, 2023

 ·2· ·11:02 a.m.

 ·3

 ·4· · · · · · · · · · · · ·TREVOR ROGERS,

 ·5· · · ·was thereupon called as a witness herein, and after

 ·6· · · ·having first been duly sworn or affirmed to testify

 ·7· · · ·to the truth, the whole truth and nothing but the

 ·8· · · ·truth, was examined and testified as follows:

 ·9· · · · · · · · · VIDEO TECHNICIAN:· We are now on the

 10· · · ·record at 1602 UTC, November 21, 2023.· Audio and

 11· · · ·video recording will continue to take place until

 12· · · ·all parties agreed to go off the record.

 13· · · · · · · · · Please note that microphones are

 14· · · ·sensitive and may pick up whispering and private

 15· · · ·conversations.· This is the video-recorded

 16· · · ·proceeding of corporate representative of

 17· · · ·J.B. Hunt, Trevor Rogers, in the matter of Justin

 18· · · ·Guy versus Absopure Water Company, LLC.

 19· · · · · · · · · My name is Lucas Schroeder.· I'm the

 20· · · ·videographer on behalf of US Legal Support.

 21· · · · · · · · · The court reporter is Renee Ogden on

 22· · · ·behalf of US Legal Support.

 23· · · · · · · · · And counsel will state their appearances

 24· · · ·for the record afterwards the court reporter will

 25· · · ·swear in our witness.


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 ·1· · · · · · · · · ATTORNEY HANNA:· Michael Hanna on behalf

 ·2· · · ·of the plaintiff.

 ·3· · · · · · · · · ATTORNEY CUMMINGS:· Michael Cummings of

 ·4· · · ·Cummings, McClorey, Davis & Acho on behalf of

 ·5· · · ·defendant.

 ·6· · · · · · · · · ATTORNEY MITCHALS:· Robert Mitchals

 ·7· · · ·counsel for the corporate representative of

 ·8· · · ·J.B. Hunt, Trevor Rogers.

 ·9· · · · · · · · · ATTORNEY LEDDON:· Brooke Leddon,

 10· · · ·in-house counsel for J.B. Hunt Transport.

 11· · · · · · · · · · · · ·EXAMINATION

 12· ·BY ATTORNEY HANNA:

 13· ·Q.· Good morning, Mr. Rogers.

 14· ·A.· Good morning.

 15· ·Q.· Can you please state your full name for the record?

 16· ·A.· Trevor Lewis Rogers.

 17· ·Q.· Okay.· And Mr. Rogers, where do you work?

 18· ·A.· J.B. Hunt Transport.

 19· ·Q.· And how long have you worked there, Mr. Rogers?

 20· ·A.· It's been 11 years.

 21· ·Q.· Okay.· Do you understand that you have been

 22· · · ·designated by J.B. Hunt to serve as its corporate

 23· · · ·representative for purposes of your sworn testimony

 24· · · ·here today?

 25· ·A.· Yes, sir.


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                                    Trevor Rogers
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 ·1· ·Q.· I'm going to show you the notice of the deposition

 ·2· · · ·which has been marked as Exhibit 1.

 ·3· · · · · · · · · MARKED FOR IDENTIFICATION:

 ·4· · · · · · · · · DEPOSITION EXHIBIT 1

 ·5· · · · · · · · · Deposition Notice

 ·6· · · · · · · · · 11:04 a.m.

 ·7· · · · · · · · · ATTORNEY HANNA:· If we can go off the

 ·8· · · ·record for a second.

 ·9· · · · · · · · · VIDEO TECHNICIAN:· I'm sorry.· Let me

 10· · · ·get off the video record real quick.· The time is

 11· · · ·1604 UTC.· We're off the record.

 12· · · · · · · · · (Off the record at 11:04 a.m.)

 13· · · · · · · · · (Back on the record at 11:05 a.m.)

 14· · · · · · · · · VIDEO TECHNICIAN:· We are back on the

 15· · · ·record.· The time is 1605 UTC.

 16· ·BY ATTORNEY HANNA:

 17· ·Q.· Okay.· Mr. Rogers, I'm going to show you the notice

 18· · · ·to conduct de bene esse deposition.

 19· · · · · · · · · Have you seen this notice before?

 20· ·A.· Yes, I believe so.

 21· ·Q.· Okay.· And you are --

 22· · · · · · · · · ATTORNEY CUMMINGS:· Objection.

 23· · · · · · · · · ATTORNEY HANNA:· What's the objection,

 24· · · ·Counsel?

 25· · · · · · · · · ATTORNEY CUMMINGS:· This is the original


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 ·1· · · ·subpoena, not the notice of de bene esse.· Am I

 ·2· · · ·missing something?

 ·3· · · · · · · · · ATTORNEY HANNA:· Yeah, you are right.

 ·4· · · ·I'll take that off when we use the final video cut,

 ·5· · · ·but -- here let me do that again.· I apologize.

 ·6· · · ·Thank you for clearing that up, Mr. Cummings.

 ·7· ·BY ATTORNEY HANNA:

 ·8· ·Q.· I am now showing you the notice of de bene esse

 ·9· · · ·deposition.

 10· · · · · · · · · Have you seen this before today,

 11· · · ·Mr. Rogers?

 12· ·A.· Yes, sir.

 13· ·Q.· Mr. Rogers, you understand that you have been

 14· · · ·designated by J.B. Hunt to serve as their corporate

 15· · · ·representative concerning the information set forth

 16· · · ·in your May 12, 2023 declaration; right?

 17· ·A.· Yes, sir.

 18· ·Q.· And you understand that you have been designated by

 19· · · ·J.B. Hunt to serve as their corporate

 20· · · ·representative concerning J.B. Hunt's certificate

 21· · · ·of records served on April 26th, 2023; correct?

 22· ·A.· Yes, sir.

 23· ·Q.· And you understand that you have been designated by

 24· · · ·J.B. Hunt to serve as J.B. Hunt Transportation --

 25· · · ·I'm sorry.· Strike that.


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 ·1· · · · · · · · · You understand that you have been

 ·2· · · ·designated by J.B. Hunt to serve as their corporate

 ·3· · · ·representative with knowledge concerning

 ·4· · · ·J.B. Hunt's Transportation which includes the

 ·5· · · ·nature of the arrangements of the transportation of

 ·6· · · ·Mountain Valley Spring Water goods from

 ·7· · · ·Mountain Valley's facility in Arkansas to Absopure

 ·8· · · ·Water Company's warehouse in Michigan in effect

 ·9· · · ·from 2017 to present; right?

 10· ·A.· Yes, sir.

 11· ·Q.· And you understand that you have been designated by

 12· · · ·J.B. Hunt to serve as their corporate

 13· · · ·representative concerning the topics set forth in

 14· · · ·plaintiffs' April 25th, 2023 subpoena to J.B. Hunt;

 15· · · ·correct?

 16· ·A.· Yes, sir.

 17· ·Q.· The subpoena also asks for J.B. Hunt to provide a

 18· · · ·copy of their contractual service agreement with

 19· · · ·Mountain Valley.

 20· · · · · · · · · Did you bring a copy of that here today?

 21· ·A.· No, sir.· That's not something I would have access

 22· · · ·to.

 23· · · · · · · · · ATTORNEY HANNA:· And, Counsel, did you

 24· · · ·provide a copy of that in response to the subpoena

 25· · · ·today?


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 ·1· · · · · · · · · ATTORNEY MITCHALS:· No.

 ·2· ·BY ATTORNEY HANNA:

 ·3· ·Q.· Okay.· Mr. Rogers, before testifying today, did you

 ·4· · · ·prepare and review material concerning this

 ·5· · · ·deposition?

 ·6· ·A.· Yes.

 ·7· ·Q.· What material did you review?

 ·8· ·A.· Just this deposition -- what is this called?· The

 ·9· · · ·designation and my declaration as well, those two

 10· · · ·documents.

 11· ·Q.· All right.· And you understand that you have been

 12· · · ·sworn to tell the truth under penalty of perjury;

 13· · · ·correct?

 14· ·A.· Yes, sir.

 15· ·Q.· I want to get some background information from you

 16· · · ·about J.B. Hunt.· So first of all, who is

 17· · · ·J.B. Hunt?

 18· ·A.· From understanding, it's a transportation company

 19· · · ·that provides transportation services.

 20· ·Q.· Okay.· And what services does J.B. Hunt provide

 21· · · ·generally?

 22· ·A.· The transport of goods.

 23· ·Q.· Okay.· Can you explain what it -- what it means for

 24· · · ·a shipper to -- strike that.

 25· · · · · · · · · Let me take a step back.


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 ·1· · · · · · · · · Does J.B. Hunt advertise itself as a

 ·2· · · ·trucking company that can provide -- that can

 ·3· · · ·outsource transportation needs to other companies?

 ·4· ·A.· I wouldn't say so.· I mean, we do have a -- in my

 ·5· · · ·specific role, it is just a dedicated -- a

 ·6· · · ·dedicated manager position.· I guess we do have a

 ·7· · · ·brokerage division that also outsources, yes, so

 ·8· · · ·yes, Yes.

 ·9· ·Q.· Let me ask you this, sir:· Who are J.B. Hunt's

 10· · · ·customers?

 11· ·A.· There is too many to list.

 12· ·Q.· I'm not asking you to give me their names, but

 13· · · ·generally speaking, who are -- are they companies?

 14· ·A.· Yes, manufacturers, companies, yeah.

 15· ·Q.· So why would a company want to hire J.B. Hunt?

 16· ·A.· They don't want to do transportation on their own.

 17· · · ·They would rather outsource that to a company like

 18· · · ·us.

 19· ·Q.· So essentially J.B. Hunt provides a service where

 20· · · ·they outsource the transportation needs for other

 21· · · ·companies; is that fair?

 22· ·A.· For the dedicated division, that's typically the

 23· · · ·model, yes.

 24· ·Q.· And what is it for the nondedicated division?

 25· ·A.· We do intermodal as well, so rail shipments.· So


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 ·1· · · ·that wouldn't necessarily be one customer.· There

 ·2· · · ·could be, you know, thousands of customers.· For my

 ·3· · · ·specific role, it is just for one customer.

 ·4· ·Q.· Okay.· And for our purposes here today,

 ·5· · · ·Mountain Valley was a dedicated shipper for

 ·6· · · ·Absopure; is that right?

 ·7· ·A.· No.· For Mountain Valley --

 ·8· ·Q.· I'm sorry.· Strike that.

 ·9· ·A.· For Mountain Valley Water.

 10· ·Q.· Let me say that correctly so we can have it for the

 11· · · ·record.

 12· · · · · · · · · For our purposes here today,

 13· · · ·Mountain Valley was a dedicated shipper of goods

 14· · · ·that J.B. Hunt transported; is that right?

 15· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 16· · · · · · · · · ATTORNEY HANNA:· What's the form,

 17· · · ·Counsel?

 18· · · · · · · · · ATTORNEY CUMMINGS:· Lacks foundation and

 19· · · ·ambiguous.

 20· ·BY ATTORNEY HANNA:

 21· ·Q.· Okay.· Mr. Rogers did J.B. Hunt transport goods for

 22· · · ·Mountain Valley?

 23· ·A.· Yes.

 24· ·Q.· Was Mountain Valley one of its customers?

 25· ·A.· Yes.


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 ·1· ·Q.· And what types of goods did J.B. Hunt transport for

 ·2· · · ·Mountain Valley?

 ·3· ·A.· It could vary, depending on -- it's all bottled

 ·4· · · ·water.· It could vary on size and that sort of

 ·5· · · ·thing for the type of bottled water, but --

 ·6· ·Q.· Okay.· And what was the -- do you understand why

 ·7· · · ·Mountain Valley retained J.B. Hunt?

 ·8· ·A.· No, I don't.· Like as far as contractually or what

 ·9· · · ·do you mean by that?

 10· ·Q.· Let me ask it this way:· What services does

 11· · · ·J.B. Hunt -- does J.B. Hunt provide to

 12· · · ·Mountain Valley?

 13· ·A.· All of their transportation needs.

 14· ·Q.· Has Mountain Valley outsourced their transportation

 15· · · ·needs to J.B. Hunt?

 16· ·A.· Well, I guess the way it works is they send us a

 17· · · ·list of loads that they want covered and then we

 18· · · ·find coverage for those loads with dedicated fleet

 19· · · ·or through brokerage or, you know, however it needs

 20· · · ·to get delivered.

 21· ·Q.· Okay.· Are you familiar with your company's

 22· · · ·website?

 23· ·A.· No.· We see a different side of the website than

 24· · · ·you guys would from a customer perspective, I

 25· · · ·guess.


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 ·1· ·Q.· Does J.B. Hunt advertise for their ability to

 ·2· · · ·outsource transportation needs for shippers?

 ·3· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·4· ·BY ATTORNEY HANNA:

 ·5· ·Q.· Let me show you a copy of -- have you -- are you

 ·6· · · ·familiar with your company's website, sir?

 ·7· ·A.· Yeah, I understand it's not all the specifics of

 ·8· · · ·it, but --

 ·9· ·Q.· Do you work -- do you work for a dedicated contract

 10· · · ·services division?

 11· ·A.· Correct.

 12· ·Q.· And do they advertise their ability to assist

 13· · · ·shippers in providing dedicated contract services

 14· · · ·goods?

 15· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 16· · · · · · · · · ATTORNEY HANNA:· Okay.· What's the

 17· · · ·objection, Mr. Cummings?

 18· · · · · · · · · ATTORNEY CUMMINGS:· Lacks foundation,

 19· · · ·calls for legal conclusion, and is ambiguous.

 20· ·BY ATTORNEY HANNA:

 21· ·Q.· What services does J.B. Hunt advertise for in its

 22· · · ·dedicated contract services solutions division?

 23· ·A.· Just transportation services.

 24· ·Q.· Does it advertise to shippers?

 25· · · · · · · · · ATTORNEY CUMMINGS:· Objection to form.


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 ·1· ·BY ATTORNEY HANNA:

 ·2· ·Q.· You can answer.

 ·3· ·A.· It advertises to whoever is reading this website

 ·4· · · ·here, I'm guessing.

 ·5· ·Q.· And who is intended to read this website here?

 ·6· ·A.· A manufacturer, a shipper, anybody that ships goods

 ·7· · · ·really.

 ·8· ·Q.· And does Mountain Valley ship goods?

 ·9· ·A.· Yeah.

 10· ·Q.· Okay.· And do you assist transporting the goods

 11· · · ·that are shipped by Mountain Valley?

 12· ·A.· Yeah.

 13· ·Q.· Okay.· How long has J.B. Hunt been around?

 14· ·A.· I don't know an exact number.

 15· ·Q.· Okay.

 16· ·A.· 19 -- I don't know.· I couldn't tell you exactly to

 17· · · ·be honest.

 18· ·Q.· Okay.· Where is J.B. Hunt based out of?

 19· ·A.· Lowell, Arkansas.

 20· ·Q.· And is that where you're based out of?

 21· ·A.· No, sir.

 22· ·Q.· Where are you based out of?

 23· ·A.· Hot Springs, Arkansas.

 24· ·Q.· Okay.· And generally speaking -- strike that.

 25· · · · · · · · · How many trucks does J.B. Hunt operate?


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 ·1· ·A.· I don't know that exact number either.

 ·2· ·Q.· Do you know how many drivers J.B. Hunt employs?

 ·3· ·A.· I do know.· I know it's a large number.

 ·4· ·Q.· Okay.· Do you know how many dedicated fleets

 ·5· · · ·J.B. Hunt operates?

 ·6· ·A.· I'm sorry.· I do not.

 ·7· · · · · · · · · MARKED FOR IDENTIFICATION:

 ·8· · · · · · · · · DEPOSITION EXHIBIT 2

 ·9· · · · · · · · · Declaration of Trevor Rogers

 10· · · · · · · · · 11:16 a.m.

 11· ·BY ATTORNEY HANNA:

 12· ·Q.· I'm going to show you what's been marked as

 13· · · ·Exhibit 2.· Let's go back for a minute.· Did you

 14· · · ·previously sign a declaration in this matter?

 15· ·A.· Yes.

 16· ·Q.· Was at that roughly sometime in May of 2023?

 17· ·A.· Correct.

 18· ·Q.· I am showing you what's been marked as Plaintiffs'

 19· · · ·Exhibit No. 2.· Do you recognize this document,

 20· · · ·Mr. Rogers?

 21· ·A.· Yes, sir.

 22· ·Q.· And what is that?

 23· ·A.· Declaration of Trevor Rogers.

 24· ·Q.· And please take a minute to read it and let me know

 25· · · ·when you are finished.


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 ·1· ·A.· Okay.

 ·2· ·Q.· Is that your signature on the bottom?

 ·3· ·A.· Yes, sir.

 ·4· ·Q.· And is this a fair and accurate representation of

 ·5· · · ·your declaration that you signed on May 12, 2023?

 ·6· ·A.· Yes, sir.

 ·7· ·Q.· Okay.· You agree, standing here today, that

 ·8· · · ·everything stated in this declaration is true and

 ·9· · · ·accurate?

 10· ·A.· Yes, sir.

 11· · · · · · · · · ATTORNEY HANNA:· Counsel, plaintiff will

 12· · · ·move to admit this declaration into evidence.· Do

 13· · · ·you have any objections now that it's been

 14· · · ·authenticated by Mr. Rogers?

 15· · · · · · · · · ATTORNEY CUMMINGS:· No objection at this

 16· · · ·time.· We reserve the right to object depending how

 17· · · ·it might be used later at trial.

 18· · · · · · · · · ATTORNEY HANNA:· Okay.

 19· ·BY ATTORNEY HANNA:

 20· ·Q.· Mr. Rogers, can you please read paragraph number 1

 21· · · ·of your declaration for the record?

 22· ·A.· I'm going to read it off the copy I have.

 23· ·Q.· Sure.

 24· ·A.· It's hard to see on the screen.

 25· ·Q.· Do you want me to take it off?· Let me just --


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 ·1· ·A.· "I'm employed by J.B. Hunt as a Manager II,

 ·2· · · ·Operations over J.B. Hunt customer account for

 ·3· · · ·DS Services of America d/b/a Primo Water

 ·4· · · ·North America, hereon referred to as 'shipper.'"

 ·5· · · · · · · · · I can reread it if you need me to.

 ·6· ·Q.· No, that's fine, sir.

 ·7· · · · · · · · · So let's unpackage that for a little

 ·8· · · ·bit, and I have a couple questions.

 ·9· · · · · · · · · So, first of all, what is your current

 10· · · ·position at J.B. Hunt, Mr. Rogers?

 11· ·A.· Same as what's there, Manager II of Operations.

 12· ·Q.· And are you the Manager II of Operations over

 13· · · ·J.B. Hunt's customer account for Mountain Valley?

 14· ·A.· Correct, yes.

 15· ·Q.· Okay.· And for purposes of this lawsuit, you

 16· · · ·understand that the entity that is also referred to

 17· · · ·as Primo Water America is referred to as

 18· · · ·Mountain Valley Spring Water, correct?

 19· ·A.· Yes, sir.

 20· ·Q.· So was the company formerly known as Primo Water,

 21· · · ·or is it -- was it formerly Mountain Valley and now

 22· · · ·known as Primo Water?

 23· ·A.· I'm not sure on the specifics of that.· We've

 24· · · ·always referred to it as "Mountain Valley."

 25· ·Q.· And we'll continue --


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 ·1· ·A.· Yeah.

 ·2· ·Q.· I'm sorry.· I didn't mean to cut you off.

 ·3· ·A.· That's okay.

 ·4· ·Q.· We'll continue to refer to it as "Mountain Valley"

 ·5· · · ·for today's purposes.

 ·6· · · · · · · · · Mr. Rogers, what are your duties and

 ·7· · · ·responsibilities as a Manager II, Operations for

 ·8· · · ·J.B. Hunt's customer account for Mountain Valley?

 ·9· ·A.· Just to run the fleet of trucks and handle any

 10· · · ·needs that Mountain Valley may have on the

 11· · · ·transportation side.

 12· ·Q.· Can you elaborate on that what means?

 13· ·A.· Managing a fleet of drivers.· We have 30 truck

 14· · · ·drivers that work for us approximately depending on

 15· · · ·the day that you ask me.· And then -- so just

 16· · · ·managing their day-to-day needs, planning,

 17· · · ·dispatching, and then also anything that pops up

 18· · · ·for Mountain Valley as far as transportation, we

 19· · · ·handle that.

 20· ·Q.· And are you exclusively dedicated to work with --

 21· · · ·for Mountain Valley or with the Mountain Valley

 22· · · ·transportation?

 23· ·A.· Yeah, I am.· That's not necessarily the reverse

 24· · · ·relationship, you know, with them.· They can work

 25· · · ·with anyone they choose, but...


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 ·1· ·Q.· No, I understand that.· My question to you is --

 ·2· · · ·you're an employee of J.B. Hunt, right?

 ·3· ·A.· Yes, sir.

 ·4· ·Q.· And the only customer or client or business

 ·5· · · ·partner, what have you, of J.B. Hunt that you work

 ·6· · · ·with or for is Mountain Valley; is that correct?

 ·7· ·A.· Yes, sir.

 ·8· ·Q.· Okay.· You said you're located where again, sir?

 ·9· ·A.· In Hot Springs, Arkansas.

 10· ·Q.· Okay.· So where do you go everyday when you go to

 11· · · ·work?

 12· ·A.· I'm on site with Mountain Valley.

 13· ·Q.· You physically work at Mountain Valley's location?

 14· ·A.· Yes.

 15· ·Q.· You are essentially the manager -- is that what you

 16· · · ·call it every day "Manager II operations," or you

 17· · · ·just say "operations manager"?

 18· ·A.· Yeah.· Account manager.· You know, sometimes you

 19· · · ·just -- however it comes out of my mouth that day.

 20· ·Q.· Okay.· Are you the only account manager for

 21· · · ·Mountain Valley?

 22· ·A.· Yes.

 23· ·Q.· Okay.· And so you're on-site at Mountain Valley's

 24· · · ·facility.· Are these trucks that you are managing

 25· · · ·also on-site at Mountain Valley's facility?


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 ·1· ·A.· They pick up from the shipper here.· Pick up here.

 ·2· · · ·They could live -- the drivers could live

 ·3· · · ·elsewhere, Little Rock or en route to a destination

 ·4· · · ·or something like that.· The trucks are not parked

 ·5· · · ·here every day.

 ·6· ·Q.· By that, do you mean they could be parked at, for

 ·7· · · ·example, the drivers' homes?

 ·8· ·A.· No.· They're required to park at a J.B. Hunt yard.

 ·9· · · ·So they -- you know, they may come and pick up

 10· · · ·their load here at Mountain Valley and then take it

 11· · · ·back to the yard -- we have a yard in Little Rock

 12· · · ·that most of them kind of dispatch out of.

 13· ·Q.· Okay.· So is it accurate to say they never actually

 14· · · ·park at the Mountain Valley's facility?

 15· ·A.· It's not accurate to say never.

 16· ·Q.· Okay.

 17· ·A.· Majority of time.

 18· ·Q.· Generally speaking, they park at what you refer to

 19· · · ·as a J.B. Hunt yard?

 20· ·A.· Yeah, yeah.· Or -- and truck stops are very

 21· · · ·frequent, you know, that too.

 22· ·Q.· Okay.· And then they will come in to pick up from

 23· · · ·the shipper at Mountain Valley's actual physical

 24· · · ·location?

 25· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.


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 ·1· · · · · · · · · ATTORNEY HANNA:· What's the objection,

 ·2· · · ·Counsel?

 ·3· · · · · · · · · ATTORNEY CUMMINGS:· Lacks foundation,

 ·4· · · ·calls for a legal conclusion.

 ·5· · · · · · · · · ATTORNEY HANNA:· Okay.

 ·6· ·BY ATTORNEY HANNA:

 ·7· ·Q.· Do they -- do these trucks -- where do these trucks

 ·8· · · ·go to pick up goods from?

 ·9· ·A.· From Mountain Valley.

 10· ·Q.· And what role is Mountain Valley in this equation?

 11· ·A.· The manufacturer.

 12· ·Q.· Okay.· And are they the shipper?

 13· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 14· ·BY ATTORNEY HANNA:

 15· ·Q.· Who is the shipper in this equation?

 16· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 17· · · · · · · · · ATTORNEY MITCHALS:· You can answer,

 18· · · ·Trevor.

 19· · · · · · · · · THE WITNESS:· Okay.

 20· ·A.· To me -- to me the shipper is just where the load

 21· · · ·picks up at.· You know, so it could be -- you know,

 22· · · ·in this -- in this particular instance,

 23· · · ·Mountain Valley is the shipper because we're

 24· · · ·picking up from Mountain Valley.· That's where we

 25· · · ·pick up the load at.


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 ·1· ·BY ATTORNEY HANNA:

 ·2· ·Q.· When it comes to the transportation of

 ·3· · · ·Mountain Valley goods that J.B. Hunt transports

 ·4· · · ·across state lines, what entity is the shipper?

 ·5· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 ·6· ·BY ATTORNEY HANNA:

 ·7· ·Q.· You can answer.

 ·8· ·A.· Can you restate that question?· I'm not sure I

 ·9· · · ·understand that question.

 10· ·Q.· Sure.· J.B. Hunt transports goods for

 11· · · ·Mountain Valley, right?

 12· ·A.· Correct.

 13· ·Q.· Okay.· When it comes to J.B. Hunt's transportation

 14· · · ·of Mountain Valley goods, who is the shipper in

 15· · · ·that equation?

 16· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 17· ·A.· The shipper is Mountain Valley for us.· I think I'm

 18· · · ·answering that correctly.· I'm not sure.· It just

 19· · · ·seems like an odd question.

 20· ·BY ATTORNEY HANNA:

 21· ·Q.· Does it seem odd because it's obvious?

 22· ·A.· No, because, I mean, we use "shipper," you know, as

 23· · · ·just a term where the load picks up at.· You know,

 24· · · ·it's -- so for me, we pick up every load from

 25· · · ·Mountain Valley.· That's why we refer to them as


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 ·1· · · ·the "shippers."

 ·2· ·Q.· I guess, let me ask you that, what is -- how are

 ·3· · · ·you using the term "shipper"?

 ·4· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·5· · · · · · · · · ATTORNEY MITCHALS:· Go ahead, Trevor.

 ·6· ·A.· Yeah, just where the load starts from.· If we were

 ·7· · · ·picking up -- wherever we're picking up from.· So

 ·8· · · ·if we're picking up a load in Dallas, that would

 ·9· · · ·be -- the shipper would be the place we're picking

 10· · · ·up in Dallas.

 11· ·BY ATTORNEY HANNA:

 12· ·Q.· I'm sorry.· It might seem like we're asking these

 13· · · ·questions multiple times, but because you are not

 14· · · ·going to be there at trial, I just have to address

 15· · · ·any objections.

 16· · · · · · · · · ATTORNEY HANNA:· So, Mr. Mitchals, what

 17· · · ·is the objection on that one?

 18· · · · · · · · · ATTORNEY MITCHALS:· Counsel, my

 19· · · ·objection was rooted in the form as to the use of

 20· · · ·the phrase "shipper."· Are you asking the deponent

 21· · · ·or the witness in terms of the use of "shipper" in

 22· · · ·the declaration or as he has testified here today?

 23· · · · · · · · · ATTORNEY HANNA:· Okay.· Thank you.

 24· ·BY ATTORNEY HANNA:

 25· ·Q.· Mr. Rogers, what was -- how were you using the term


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 ·1· · · ·"shipper" in your declaration?

 ·2· ·A.· Just referring to Mountain Valley Water.

 ·3· ·Q.· Okay.· And why do you -- do you refer -- in your

 ·4· · · ·normal, everyday operations, do you refer to

 ·5· · · ·Mountain Valley Water as the "shipper"?

 ·6· ·A.· Absolutely.

 ·7· ·Q.· Is that what J.B. Hunt refers -- strike that.

 ·8· · · · · · · · · What does J.B. Hunt refer to

 ·9· · · ·Mountain Valley as?

 10· ·A.· Most of the time we call them our customer.· But

 11· · · ·it's industry standard to say "shipper" and

 12· · · ·"receiver," like you're shipping and receiving.· So

 13· · · ·they're our shipper.· You know, we're shipping from

 14· · · ·Mountain Valley.

 15· ·Q.· And what do the drivers that you supervise refer to

 16· · · ·Mountain Valley as?

 17· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 18· · · · · · · · · THE WITNESS:· I can answer that?

 19· ·BY ATTORNEY HANNA:

 20· ·Q.· Let me rephrase that.

 21· · · · · · · · · Do you discuss Mountain Valley with the

 22· · · ·drivers that you supervise?

 23· ·A.· Oh, yeah.

 24· ·Q.· In those conversations, how do you refer to

 25· · · ·Mountain Valley?


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 ·1· ·A.· "Plant," "shipper," "customer."· It could vary,

 ·2· · · ·depending on which driver I'm talking to lots of

 ·3· · · ·times.

 ·4· ·Q.· Are you familiar with the relationship between

 ·5· · · ·J.B. Hunt and Mountain Valley?

 ·6· ·A.· Yeah.

 ·7· ·Q.· What is the relationship between Mountain Valley

 ·8· · · ·and J.B. Hunt?

 ·9· ·A.· We are just their dedicated transportation

 10· · · ·provider.

 11· ·Q.· Okay.· Does J.B. Hunt have a customer account for

 12· · · ·Mountain Valley?

 13· ·A.· What do you mean by that?

 14· ·Q.· I'm going to refresh your recollection with your

 15· · · ·declaration.· On paragraph 1 -- I'll let you read

 16· · · ·paragraph 1 and let me know when you are done

 17· · · ·reading it?

 18· ·A.· Yes, yeah.

 19· ·Q.· So my question to you, sir, is:· Does J.B. Hunt

 20· · · ·have a customer account for Mountain Valley?

 21· ·A.· Yeah.· We just call that like a dedicated account.

 22· · · ·Like, every customer is an account, basically, in a

 23· · · ·sense.

 24· ·Q.· Okay.

 25· ·A.· They used to, you know, call us account managers


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 ·1· · · ·and now we're called operations managers.· It's

 ·2· · · ·just a different verbiage I guess.

 ·3· ·Q.· So what are your duties and responsibilities as an

 ·4· · · ·account manager and for operations manager as it

 ·5· · · ·stands today?

 ·6· ·A.· Just what I explained earlier about taking care of

 ·7· · · ·my fleet of drivers and managers as well as taking

 ·8· · · ·care of any transportation needs Mountain Valley

 ·9· · · ·has if they choose to use us.· Again, they could

 10· · · ·call anybody they want to to haul their freight.

 11· ·Q.· They could do that.· You work at the

 12· · · ·Mountain Valley's plant you said.· That's where you

 13· · · ·go every day to work?

 14· ·A.· Yes.

 15· ·Q.· Is that right?

 16· ·A.· Correct.

 17· ·Q.· Are there any other account managers for any other

 18· · · ·companies that work at Mountain Valley?

 19· ·A.· I'm not sure.· Not that I'm aware of.

 20· ·Q.·
      Q.· Do you know if Mountain Valley uses any other

 21· · · ·transportation companies?

 22· ·A.· Well, the -- you know, where -- we are the

 23· · · ·transportation provider for dedicated, but they

 24· · · ·also have -- they also reach out to brokers and

 25· · · ·that sort of thing.· The brokers are their own


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 ·1· · · ·company that haul loads for them.

 ·2· ·Q.· I'm not sure I understand what that means.· Can you

 ·3· · · ·explain that to me, please?

 ·4· · · · · · · · · ATTORNEY CUMMINGS:· Objection to form.

 ·5· · · · · · · · · Go ahead.

 ·6· ·A.· So they give us a load list every day and we get

 ·7· · · ·those loads covered with our dedicated fleet and

 ·8· · · ·with their -- other brokerage services as well.· So

 ·9· · · ·a brokerage could be a third party shipper, you

 10· · · ·know, not -- not one of our dedicated resources,

 11· · · ·but we pass that load onto a broker if that makes

 12· · · ·sense.· So there are other shipping companies that

 13· · · ·work -- that bill directly to Mountain Valley all

 14· · · ·that stuff.

 15· ·BY ATTORNEY HANNA:

 16· ·Q.· Can you give me an example of how that would work?

 17· ·A.· So a load list comes to us every day of what is

 18· · · ·shipping out for the following day.· With our

 19· · · ·dedicated fleet we haul as much as possible with

 20· · · ·the number of drivers that we have and all of those

 21· · · ·extra loads may go on the rail.· They may go one

 22· · · ·way.· We call them a one-way trip which is a

 23· · · ·delivery to a warehouse or wherever.· They don't --

 24· · · ·we basically ship -- we send them the delivery

 25· · · ·information like where it is delivering to and then


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 ·1· · · ·they bill Mountain Valley for that load.

 ·2· ·Q.· So it seems that you, as J.B. Hunt, would

 ·3· · · ·coordinate with any third parties that may need to

 ·4· · · ·assist and ship the Mountain Valley goods; is that

 ·5· · · ·accurate?

 ·6· ·A.· We help with that, yeah.

 ·7· ·Q.· Okay.· And under what circumstances would that

 ·8· · · ·happen?· Is it just a -- based on if you don't have

 ·9· · · ·enough drivers or is it based on, like, a coverage

 10· · · ·blackout of an area or when does that happen?

 11· ·A.· You want me to dive into more specifics, I guess?

 12· · · ·Our fleet is sort of built for round trip loads

 13· · · ·meaning we deliver product and we bring dunnage

 14· · · ·product which is the empty bottles back to the

 15· · · ·receiver.· There are other loads that just the

 16· · · ·product is delivered and then that truck goes away,

 17· · · ·you know, that truck goes elsewhere to pick up

 18· · · ·their next load wherever.· So for us as a dedicated

 19· · · ·fleet, our operation is typically round trip we're

 20· · · ·running out and bringing back dunnage all the time.

 21· ·Q.· I understand.· And defendant Absopure Water Company

 22· · · ·does not have a customer account for J.B. Hunt; is

 23· · · ·that right?

 24· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 25· ·BY ATTORNEY HANNA:


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 ·1· ·Q.· Let me rephrase that.· Does the defendant, Absopure

 ·2· · · ·Water Company, have a customer account with

 ·3· · · ·J.B. Hunt?

 ·4· ·A.· I'm not sure.· Not to my knowledge.

 ·5· ·Q.· All right.· You have been designated today to

 ·6· · · ·service the corporate representative for

 ·7· · · ·J.B. Hunt's Transportation which includes the

 ·8· · · ·nature of the arrangement of the transportation of

 ·9· · · ·Mountain Valley Spring Water goods from

 10· · · ·Mountain Valley's facility in Arkansas to Absopure

 11· · · ·Water Company's warehouse in Michigan in effect

 12· · · ·from 2017 to the present; is that right?

 13· ·A.· Correct.

 14· ·Q.· And based on your knowledge, are you aware of any

 15· · · ·customer accounts that defendant Absopure Water

 16· · · ·Company has with J.B. Hunt?

 17· ·A.· I am not, no.

 18· ·Q.· Okay.· When did the relationship between

 19· · · ·Mountain Valley and J.B. Hunt begin?

 20· ·A.· Begin?

 21· ·Q.· Yes, sir.

 22· ·A.· I believe it was 2011.· When they -- there may have

 23· · · ·been a relationship before that, but for our

 24· · · ·dedicated account that I keep referring to, that's

 25· · · ·when it started.


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 ·1· ·Q.· And just so the jury has a better understanding,

 ·2· · · ·can you just give us a better example of a

 ·3· · · ·dedicated account versus a nondedicated account?

 ·4· ·A.· Typically with dedicated you have managers on-site

 ·5· · · ·with that customer.· They handle whatever

 ·6· · · ·transportation needs, you know, with the size of

 ·7· · · ·the customer they -- the customer could have their

 ·8· · · ·own transportation office there.

 ·9· · · · · · · · · They work really closely with J.B. Hunt

 10· · · ·and make sure things are running efficiently and

 11· · · ·then J.B. Hunt provides the trucks, trailers,

 12· · · ·drivers to haul that freight.· Typically they're

 13· · · ·your larger manufacturers, larger customers that

 14· · · ·have a dedicated fleet not someone that ships one

 15· · · ·or two loads a week.· It is quite a few loads a

 16· · · ·week.

 17· ·Q.· Thank you for that explanation.

 18· · · · · · · · · And J.B. Hunt has that sort of dedicated

 19· · · ·account with Mountain Valley; correct?

 20· ·A.· Yes, sir.

 21· ·Q.· Okay.· Did J.B. Hunt previously own a majority

 22· · · ·share of Mountain Valley?

 23· ·A.· I'm not sure.

 24· ·Q.· Does J.B. Hunt -- do you know who James Thompson

 25· · · ·is?


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 ·1· ·A.· I do not.

 ·2· ·Q.· Are you familiar with the board of directors for

 ·3· · · ·J.B. Hunt?

 ·4· ·A.· A little bit.· I have never heard that name.

 ·5· ·Q.· Are you aware that Mr. Thompson also served on the

 ·6· · · ·board of Mountain Valley Spring Water?

 ·7· ·A.· I did not know that.

 ·8· ·Q.· Does -- where does J.B. Hunt ship Mountain Valley

 ·9· · · ·products to?

 10· ·A.· Just about every state.· There are some -- there's

 11· · · ·a few exceptions.· I don't know if you need me to

 12· · · ·list those or not.

 13· ·Q.· No, that's fine.· Is one of the states Michigan?

 14· ·A.· Yes, sir.

 15· ·Q.· Is one of the locations that J.B. Hunt ships

 16· · · ·Mountain Valley products to defendant Absopure

 17· · · ·Water Company?

 18· ·A.· Yes, sir.

 19· ·Q.· Does J.B. Hunt have standardized instructions

 20· · · ·concerning the shipment of Mountain Valley

 21· · · ·products?

 22· ·A.· As far as specifically, what do you mean by that?

 23· · · ·Like how -- like the load sits here, picks up here,

 24· · · ·what do you mean?

 25· ·Q.· Sure.· Let's start with that.


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 ·1· ·A.· I wouldn't say -- can you rephrase -- restate the

 ·2· · · ·question just to make sure that I understand.

 ·3· ·Q.· What are Mountain Valley's instructions to

 ·4· · · ·J.B. Hunt as it relates to the transportation of

 ·5· · · ·Mountain Valley goods?

 ·6· ·A.· Right.· So like I said with -- like, the shipment

 ·7· · · ·calendar that we receive every day that shows

 ·8· · · ·what's shipping, you know, really our requirement

 ·9· · · ·is that the load gets there at the time they are

 10· · · ·promising their customer that it will be there.· So

 11· · · ·that's, kind of, you know, a 30,000-foot view of

 12· · · ·what we do every day, you know.

 13· ·Q.· Can you walk me through a typical day and it seems

 14· · · ·like -- from what I believe your answer is telling

 15· · · ·me is that your day begins by receiving a shipment

 16· · · ·calendar is what you are referring to it as from

 17· · · ·J.B. Hunt; is that right?

 18· ·A.· Not from J.B. Hunt from --

 19· ·Q.· I'm sorry I misspoke.· Your day begins essentially

 20· · · ·by you receiving a shipment calendar from

 21· · · ·Mountain Valley; is that right?

 22· ·A.· Yeah, I would say that, yeah.

 23· ·Q.· Okay.· So let's start there.· What is a shipment

 24· · · ·calendar?

 25· ·A.· It's just the destination of every load that ships


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 ·1· · · ·from Mountain Valley Water.

 ·2· ·Q.· So it's just a list of the loads that have to be

 ·3· · · ·sent for the day from Mountain Valley; is that

 ·4· · · ·right?

 ·5· ·A.· Correct.

 ·6· ·Q.· Okay.· So --

 ·7· ·A.· It could be five or six days long.· You know, it

 ·8· · · ·could be - it could look out a little farther in

 ·9· · · ·the future, yes.

 10· ·Q.· Walk me through one of these days.· You get in

 11· · · ·there in the morning and you receive a shipment

 12· · · ·calendar from Mountain Valley; is that right?

 13· ·A.· Mm-hmm.

 14· ·Q.· Who -- is that a yes?

 15· ·A.· Yes, sir.

 16· ·Q.· We need audible answers.

 17· ·A.· Yes, sir.

 18· ·Q.· I appreciate that.· You are good.· Thank you so

 19· · · ·much.

 20· · · · · · · · · Okay.· So let's start there.· You

 21· · · ·receive a shipment calendar.· Who is giving you or

 22· · · ·handing you the shipment calendar?

 23· ·A.· Mountain Valley's customer service department who

 24· · · ·takes in the orders or takes in the initial call or

 25· · · ·email or however they get the orders in, however


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 ·1· · · ·that works.

 ·2· ·Q.· Okay.· And you don't know how they get their orders

 ·3· · · ·in, right?

 ·4· ·A.· I think it varies depending on each customer.

 ·5· ·Q.· Okay.· Let's focus on what you know.· So who -- let

 ·6· · · ·me ask that again.

 ·7· · · · · · · · · How do you receive the shipment calendar

 ·8· · · ·in the morning?

 ·9· ·A.· They print it and they hand it to me.

 10· ·Q.· Who is they?

 11· ·A.· Mountain Valley.

 12· ·Q.· What position at Mountain Valley does that?

 13· ·A.· Customer service.

 14· ·Q.· Do you get it in an email or do you just get a

 15· · · ·handwritten list in the morning?

 16· ·A.· It can vary -- sometimes they print me a copy and

 17· · · ·sometimes they email me a copy and then I print it

 18· · · ·because I like to have a hard copy of it.

 19· ·Q.· Okay.· So walk me through it.· You come in, you get

 20· · · ·your shipment calendar.· What's the next thing you

 21· · · ·do with that?

 22· ·A.· This is in between putting over whatever fires

 23· · · ·happened -- not physically fires, but, you know,

 24· · · ·problems happen, but -- so I don't want to make

 25· · · ·them think I just grab this piece of paper and


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 ·1· · · ·that's all I do all day.· I basically find

 ·2· · · ·arrangements for every load that is on that

 ·3· · · ·shipment calendar.

 ·4· · · · · · · · · So every line on that shipment calendar

 ·5· · · ·will be a load, have a destination on it, and it's

 ·6· · · ·a full truckload of water 99 percent of the time

 ·7· · · ·and we're delivering it to whatever address, name

 ·8· · · ·of the customer, whatever that is on that list.

 ·9· · · · · · · · · Then we book a truck on it, you know,

 10· · · ·and since -- whether it be our J.B. Hunt truck or a

 11· · · ·third party like we kind of talked about earlier.

 12· ·Q.· Okay.· And so these trucks -- do the trucks know to

 13· · · ·come to -- because you told me earlier that the

 14· · · ·trucks are not parked at Mountain Valley's

 15· · · ·location; right?

 16· ·A.· Right.

 17· ·Q.· Okay.· Do you make a call to the drivers to say

 18· · · ·come pick it up, or do they always just come in

 19· · · ·every morning?

 20· ·A.· No.· We don't have to make a call.

 21· ·Q.· Okay.· So you get the shipment calendar.· The next

 22· · · ·thing you are doing is seeing -- you start making

 23· · · ·the calls to your -- the truck drivers; is that

 24· · · ·correct?

 25· ·A.· Yes.· You have to remember some of these ships are


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 ·1· · · ·three or four days' distance away.· You know,

 ·2· · · ·California, Florida, wherever, so we may not make

 ·3· · · ·that call immediately, but we may make that call

 ·4· · · ·later in the afternoon and we know we've got it

 ·5· · · ·covered, that sort of thing.· Most of those initial

 ·6· · · ·calls are, you know, preplanning for three or four

 ·7· · · ·or five days ahead of time.

 ·8· ·Q.· Your 30 or so dedicated truck drivers, are they --

 ·9· · · ·are they dedicated to a certain region or do they

 10· · · ·just drive --

 11· ·A.· They did --

 12· ·Q.· Let me just finish my question.· I know you can

 13· · · ·anticipate what I'm saying, but just on get a clean

 14· · · ·record.

 15· · · · · · · · · So you said that you have roughly 30 or

 16· · · ·so truck drivers, right, sir?

 17· ·A.· Yes.

 18· ·Q.· Okay.· And so do these truck drivers, are they just

 19· · · ·assigned a load and transportation on an as-needed

 20· · · ·basis or are they dedicated to a certain route?

 21· ·A.· They're not dedicated to a route.· So we -- the

 22· · · ·schedule changes every week, depending on the need

 23· · · ·for the water across the country.· So they're

 24· · · ·dedicated to Mountain Valley, but they're not

 25· · · ·dedicated to a specific lane or a specific route.


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 ·1· ·Q.· Got it.· So the driver that is driving this load X

 ·2· · · ·today to Absopure Water Company tomorrow or, you

 ·3· · · ·know, in a week when they get back, they could be

 ·4· · · ·driving a load to California or wherever else

 ·5· · · ·Mountain Valley needs transportation of their

 ·6· · · ·goods; is that fair?

 ·7· ·A.· That's fair, yes.

 ·8· ·Q.· Okay.· So you call the driver after you get the

 ·9· · · ·shipment calendar, and then they come to the

 10· · · ·facility, to Mountain Valley's facility; is that

 11· · · ·right?

 12· ·A.· Mm-hmm.

 13· ·Q.· Is that a "yes"?

 14· ·A.· Yes.· Sorry.

 15· ·Q.· No, that's okay.

 16· · · · · · · · · And so I'm assuming the next thing is

 17· · · ·you would have to load the truck?

 18· · · · · · · · · ATTORNEY CUMMINGS:· Objection,

 19· · · ·foundation.

 20· ·BY ATTORNEY HANNA:

 21· ·Q.·
      Q.· I'm sorry.· What is the next thing after you call

 22· · · ·the truck drivers?

 23· ·A.· Like I said, we are planning three or four days

 24· · · ·ahead.· So depending on what I'm calling for, there

 25· · · ·could be several different scenarios.· But in a


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 ·1· · · ·sense, that daily shipment calendar that I keep

 ·2· · · ·referring to is just -- it's not only what is

 ·3· · · ·shipping for us, but it is what is loading for the

 ·4· · · ·dock as well for Mountain Valley.· So they would be

 ·5· · · ·loading our trailers at the same time that I'm

 ·6· · · ·planning trucks and drivers.

 ·7· ·Q.· Let me ask it this way:· Can you just walk me

 ·8· · · ·through if you were -- this shipment, right, it's

 ·9· · · ·hear in Absopure Water Company's facility -- I'm

 10· · · ·sorry.· Strike that.

 11· · · · · · · · · Can you please walk me through a

 12· · · ·shipment?· If it's here in Mountain Valley's

 13· · · ·warehouse, I want you to walk me through it from

 14· · · ·its origin to its final destination.· And I --

 15· · · · · · · · · ATTORNEY CUMMINGS:· Objection to form.

 16· ·BY ATTORNEY HANNA:

 17· ·Q.· That's what I was trying to ask you to walk me

 18· · · ·through, from receiver to shipment calendar.· So

 19· · · ·can you please -- so strike that.· Let me ask it

 20· · · ·again.· Strike that.

 21· · · · · · · · · Can you please walk me through the

 22· · · ·transportation of a shipment after you receive the

 23· · · ·shipment calendar?

 24· ·A.· Yeah.

 25· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.


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 ·1· · · · · · · · · Go ahead.

 ·2· ·A.· So then, you know, the day of that shipment, the

 ·3· · · ·day that ships -- the day it ships is given to the

 ·4· · · ·dock, the dock loads it on a trailer.· If it's a

 ·5· · · ·dedicated run, they load it on one our dedicated

 ·6· · · ·trailers.· And then the driver, when he

 ·7· · · ·schedules -- if it loads today, that doesn't mean

 ·8· · · ·the driver is necessarily picking it up, you know,

 ·9· · · ·right now.

 10· · · · · · · · · It may -- they may pick up, you know,

 11· · · ·3:00 a.m. tomorrow morning, but it's loading during

 12· · · ·business hours so that they can pick it up, you

 13· · · ·know, when they are first available.

 14· · · · · · · · · So they load it on one of our dedicated

 15· · · ·trailers, we call the driver and let him know it's

 16· · · ·loaded, it's ready to go.· They know they can come

 17· · · ·down at their earliest ability, you know, based on

 18· · · ·their hours that they have available.· They come

 19· · · ·pick it up, take it to the destination.

 20· · · · · · · · · Like I said, 99 percent of our loads are

 21· · · ·round trip.· We're bringing dunnage back, so they

 22· · · ·unload, reload, and come right back to load.

 23· ·BY ATTORNEY HANNA:

 24· ·Q.· And who is loading the Mountain Valley goods onto

 25· · · ·the trucks?


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 ·1· ·A.· Mountain Valley employees, the dock -- the dock

 ·2· · · ·guys, the dockworkers.

 ·3· ·Q.· Got it.· What role does Mountain Valley play in

 ·4· · · ·J.B. Hunt's shipments of their product?

 ·5· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·6· ·A.· Can you restate that or just say it again?

 ·7· ·BY ATTORNEY HANNA:

 ·8· ·Q.· Yeah.· I just want to understand what role

 ·9· · · ·Mountain Valley plays in this process.· I think you

 10· · · ·have answered part of it.· You said that they load

 11· · · ·it on the truck.· They provide --

 12· ·A.· Yes.

 13· ·Q.· -- a shipping calendar.· So I guess my question

 14· · · ·generally is:· Can you just explain the entire role

 15· · · ·Mountain Valley plays in J.B. Hunt's shipment of

 16· · · ·their products?

 17· ·A.· Well, they're monitoring whether or not we have

 18· · · ·delivered the load at the time we're supposed to be

 19· · · ·there.· That's really -- that's really it.· You

 20· · · ·know, they -- once it's loaded on our trailer, you

 21· · · ·know, we're required to get it there by a certain

 22· · · ·day and a certain time.

 23· · · · · · · · · And if we're late for whatever reason,

 24· · · ·we report that to them.· Or, you know, even if

 25· · · ·we're early, we report that to them.· So making


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 ·1· · · ·sure they're -- so really, I mean, as far as

 ·2· · · ·talking to our drivers, they don't have a role in

 ·3· · · ·talking to our drivers, you know, directing them

 ·4· · · ·where to go, anything like that.· We do all of that

 ·5· · · ·for them.· That's part of, you know, taking over

 ·6· · · ·our transportation operation so they're not having

 ·7· · · ·to do all that stuff.

 ·8· ·Q.· How does Mountain Valley monitor the load, as you

 ·9· · · ·say -- strike that.· Let me take a step back.

 10· · · · · · · · · Does Mountain Valley monitor the load

 11· · · ·that J.B. Hunt transports for Mountain Valley?

 12· ·A.· No.· There is no -- there is no way to monitor our

         ·truck.· Like, I don't know if you are asking like
 13· · · ·truck.

 14· · · ·GPS location or something like that or if you are

 15· · · ·just asking like they check in on occasion, like

 16· · · ·how are we doing or everything on time?· Like

 17· · · ·that's really more of the monitoring way we do

 18· · · ·things.· You know, just check-ins, I guess, to our

 19· · · ·office and make sure everything is going well.

 20· ·Q.· You just testified a moment ago that

 21· · · ·Mountain Valley is monitoring whether or not you

 22· · · ·have delivered the load at the time you were

 23· · · ·supposed to be there; is that right?

 24· ·A.· Yeah.· So they're hearing back from their customer

 25· · · ·if we're not there on time, if we're early, that


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 ·1· · · ·sort of thing.· So they're -- you know, if we're

 ·2· · · ·late, their customer is calling them wondering

 ·3· · · ·where our truck is.

 ·4· ·Q.· Aside from their customer calling in, do you --

 ·5· · · ·does J.B. Hunt communicate with Mountain Valley?

 ·6· ·A.· We send a schedule out typically on Fridays of what

 ·7· · · ·is delivering when.· Like if everything is going to

 ·8· · · ·be on time or that kind of tells them if there are

 ·9· · · ·some loads that are going to be late based on the

 10· · · ·original shipment calendar they gave us.· A load

 11· · · ·may be a day late already because, you know, we

 12· · · ·don't have a driver available or whatever the case

 13· · · ·may be.

 14· ·Q.· Does Mountain Valley ever call J.B. Hunt to inquire

 15· · · ·about the status of a load?

 16· ·A.· They don't call.· They just walk down to our

 17· · · ·office.· We're on site.· They come in and ask.

 18· ·Q.· Does that happen in your regular course of

 19· · · ·business --

 20· ·A.· Yeah.· Oh, yeah.

 21· ·Q.· And what do you do when you get that type of

 22· · · ·request?

 23· ·A.· Call the driver and check on what the status is

 24· · · ·if -- or maybe it -- maybe it got delivered in the

 25· · · ·time we were having that conversation.· Lots of


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 ·1· · · ·times that's the case.· You know, it's maybe 20

 ·2· · · ·minutes late, you know, and not a day late or

 ·3· · · ·something like that.· Usually when I check in, he's

 ·4· · · ·pulling in the parking lot or something like that.

 ·5· ·Q.· Okay.· In your declaration, you refer to

 ·6· · · ·Mountain Valley as the "shipper"; is that right?

 ·7· ·A.· Yes.

 ·8· ·Q.· Why did you refer to Mountain Valley as the

 ·9· · · ·"shipper"?

 10· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 11· · · · · · · · · Go ahead, Trevor.

 12· ·A.· We -- that's just the way our --

 13· · · · · · · · · ATTORNEY HANNA:· What is the basis of

 14· · · ·your objection, Mr. Mitchals?

 15· · · · · · · · · ATTORNEY MITCHALS:· Asked and answered.

 16· · · · · · · · · ATTORNEY HANNA:· Okay.

 17· ·BY ATTORNEY HANNA:

 18· ·Q.· You can answer.· Let me -- let me ask it again.

 19· · · · · · · · · What is -- why did you refer to

 20· · · ·Mountain Valley as the "shipper"?

 21· ·A.· That's just really an industry standard.· "Shipper"

 22· · · ·and "receiver" is the way we refer to all of our

 23· · · ·customers.

 24· ·Q.· Does J.B. Hunt provide the shipper,

 25· · · ·Mountain Valley, with services through its


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 ·1· · · ·dedicated contract service business unit?

 ·2· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·3· ·A.· Yes.· I can answer.

 ·4· ·BY ATTORNEY HANNA:

 ·5· ·Q.· I guess I'll go ahead and have you -- I'm sharing

 ·6· · · ·the wrong thing.

 ·7· · · · · · · · · Mr. Rogers, can you please take a look

 ·8· · · ·at paragraph 2 of the declaration?

 ·9· ·A.· Yes.

 10· ·Q.· Can you read it for the record.

 11· ·A.· "J.B. Hunt provides shipper with services to its

 12· · · ·dedicated contract services business."

 13· ·Q.· Okay.· So does J.B. Hunt provide the shipper,

 14· · · ·Mountain Valley, with services through its

 15· · · ·dedicated contract service business unit?

 16· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 17· ·BY ATTORNEY HANNA:

 18· ·Q.· You can answer.

 19· ·A.· Yes.

 20· ·Q.· What services does J.B. Hunt provide the shipper,

 21· · · ·Mountain Valley?

 22· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 23· ·A.· Anything transportation related.· It could be

 24· · · ·delivering a load.· It could be setting up a broker

 25· · · ·to pick up a load, that sort of thing.


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 ·1· ·BY ATTORNEY HANNA:

 ·2· ·Q.· Does J.B. Hunt interact at all with

 ·3· · · ·Mountain Valley's customers?

 ·4· ·A.· Just about ETAs a lot of times.

 ·5· ·Q.· Do they directly interact about ETAs or does that

 ·6· · · ·go through Mountain Valley?

 ·7· ·A.· Depends on the customer.· There are various ways,

 ·8· · · ·you know, whether it's an email or whether we, you

 ·9· · · ·know, Mountain Valley emails them directly.· It

 10· · · ·just depends on which -- depends on the customer

 11· · · ·because some are easy to get ahold of and some are

 12· · · ·not so easy to get ahold of.

 13· ·Q.· Generally speaking, how is the flow of

 14· · · ·communication handled?

 15· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 16· · · · · · · · · Go ahead.

 17· ·A.· Just a phone call.

 18· ·BY ATTORNEY HANNA:

 19· ·Q.· Okay.· Does Absopure Water Company ever call

 20· · · ·J.B. Hunt for these purposes?

 21· ·A.· Not directly.· Typically they call -- I would say I

 22· · · ·have never had them call me.· They call

 23· · · ·Mountain Valley for an ETA on their load.

 24· ·Q.· Okay.· So are you aware of any communications

 25· · · ·between Mountain Valley and -- strike that.


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 ·1· · · · · · · · · Are you aware of any communications

 ·2· · · ·between defendant Absopure Water Company and

 ·3· · · ·J.B. Hunt directly?

 ·4· ·A.· Just on the emails on occasion about a truck

 ·5· · · ·breaking down or a delivery, if we could deliver on

 ·6· · · ·a certain day and time, that sort of thing.

 ·7· ·Q.· But in the regular course of business who -- how

 ·8· · · ·does the communication get transmitted to J.B. Hunt

 ·9· · · ·as it relates to the shipment of Mountain Valley

 10· · · ·goods to defendant Absopure Water Company?

 11· ·A.· Like I was saying before, the customer service, you

 12· · · ·know, they're the ones that gives us the shipment

 13· · · ·calendar, you know, that I keep referring to.

 14· ·Q.· And when you say "customer service," are you

 15· · · ·referring to J.B. Hunt's customer service?

 16· ·A.· No, no.· Mountain Valley.

 17· ·Q.· Mountain Valley is what you meant to say?· Okay.

 18· · · ·Thank you.

 19· · · · · · · · · What is it that you transport for the

 20· · · ·shipper Mountain Valley?

 21· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 22· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 23· · · · · · · · · ATTORNEY HANNA:· What is the objection?

 24· · · · · · · · · ATTORNEY CUMMINGS:· Calls for a legal

 25· · · ·conclusion, ambiguous.


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 ·1· ·BY ATTORNEY HANNA:

 ·2· ·Q.· Okay.· You refer to Mountain Valley as the shipper;

 ·3· · · ·isn't that right, Mr. Rogers?

 ·4· ·A.· I did in this declaration, yes.

 ·5· ·Q.· Isn't that what you normally refer to them in your

 ·6· · · ·everyday course of business?

 ·7· ·A.· Customer mainly.

 ·8· ·Q.· You mainly refer to them as the customer, not the

 ·9· · · ·shipper?

 10· ·A.· Correct.

 11· ·Q.· Okay.· So what is it that you transport for the

 12· · · ·shipper or customer Mountain Valley?

 13· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 14· ·BY ATTORNEY HANNA:

 15· ·Q.· You can answer.

 16· ·A.· Bottled water.

 17· ·Q.· Okay.· What is it that you transport for

 18· · · ·Mountain Valley?

 19· ·A.· Is that the same question?

 20· ·Q.· I have to ask it multiple times in case there's any

 21· · · ·objections to these questions.· So that's why I'm

 22· · · ·asking you things repetitively in case we have to

 23· · · ·deal with any objections.· So let me ask it again.

 24· · · · · · · · · The deposition is going to end up being

 25· · · ·sliced for some of these things so that's why some


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 ·1· · · ·of this might seem redundant.· I appreciate you

 ·2· · · ·going ahead and answering it again just to make

 ·3· · · ·sure we preserve the record.

 ·4· · · · · · · · · So what is it that you transport for

 ·5· · · ·Mountain Valley?

 ·6· ·A.· Bottled water.

 ·7· ·Q.· Does Mountain Valley have specific loading

 ·8· · · ·procedures for its bottled water?

 ·9· ·A.· Yeah.· Like a -- so in the freight industry, in

 10· · · ·order to get a load to scale right, you know, you

 11· · · ·have to put a certain amount of weight on each

 12· · · ·axle, that sort of thing.· That would be their

 13· · · ·loading procedure that I'm referring to.

 14· ·Q.· Okay.· Is that the same loading procedure for all

 15· · · ·the Mountain Valley goods that J.B. Hunt

 16· · · ·transports?

 17· ·A.· Yes.

 18· ·Q.· Does Mountain Valley have specific shipping

 19· · · ·procedures?

 20· ·A.· I'm not sure on their, you know, step-by-step

 21· · · ·shipping procedures other than kind of what I have

 22· · · ·explained earlier as far as getting the shipment

 23· · · ·calendar and it loading on our trailer, that sort

 24· · · ·of thing.· We have a list, yes.· I'm sorry.

 25· ·Q.· No.· You're good.· Thank you.· I'm sorry.


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 ·1· · · · · · · · · Do you prepare reports for

 ·2· · · ·transportation of Mountain Valley goods?

 ·3· ·A.· There are some reports as far as delivering on

 ·4· · · ·time, percentage, something like that, yeah.

 ·5· ·Q.· Who do you provide these reports to?

 ·6· ·A.· To Mountain Valley.

 ·7· ·Q.· What do these reports entail or include?

 ·8· ·A.· They could just include our on-time percentage.

 ·9· · · ·They can include our number of miles that we ran

 10· · · ·that week, our number of loads we delivered that

 11· · · ·week, that sort of thing.

 12· ·Q.· And you have never provided these reports to

 13· · · ·defendant Absopure Water Company; is that correct?

 14· ·A.· No, sir.

 15· ·Q.· Okay.· I want to go back to your declaration for a

 16· · · ·second.· Can you please read paragraph number 7 for

 17· · · ·the record?· You can read it out loud.

 18· ·A.· "Shipper tenders freight to J.B. Hunt and directs

 19· · · ·J.B. Hunt to where delivery is expected."

 20· ·Q.· And so does the shipper, Mountain Valley, tender

 21· · · ·freight to J.B. Hunt and direct J.B. Hunt to where

 22· · · ·delivery is expected?

 23· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 24· ·BY ATTORNEY HANNA:

 25· ·Q.· You can answer.


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 ·1· ·A.· That's the shipment calendar I keep referring to,

 ·2· · · ·yes.

 ·3· ·Q.· Is that correct?

 ·4· ·A.· Is that correct?· The --

 ·5· ·Q.· Is it correct to say that the shipper,

 ·6· · · ·Mountain Valley, tenders freight to J.B. Hunt and

 ·7· · · ·directs J.B. Hunt to where delivery is expected?

 ·8· ·A.· Yes.

 ·9· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 10· ·BY ATTORNEY HANNA:

 11· ·Q.· What does it mean to tender freight?

 12· ·A.· I don't know the definition of tender really.                 I

 13· · · ·just know that they're giving us the destination

 14· · · ·and the time and places the delivery is supposed to

 15· · · ·happen.

 16· ·Q.· And when you say they're giving you the destination

 17· · · ·time and place of where the delivery is supposed to

 18· · · ·happen, you're referring to Mountain Valley

 19· · · ·providing you that information; correct?

 20· ·A.· Yes.

 21· ·Q.· Okay.

 22· ·A.· And I believe that's -- that kind of defines tender

 23· · · ·is tendering by giving the destination to us.

 24· ·Q.· Got it.· The second part of that sentence states

 25· · · ·that, "The shipper Mountain Valley directs


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 ·1· · · ·J.B. Hunt to where delivery is expected," right?

 ·2· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·3· ·BY ATTORNEY HANNA:

 ·4· ·Q.· How does Mountain Valley direct J.B. Hunt -- let me

 ·5· · · ·just re-ask it -- strike that because there's an

 ·6· · · ·objection.

 ·7· · · · · · · · · Does Mountain Valley direct J.B. Hunt to

 ·8· · · ·where delivery is expected?

 ·9· ·A.· Yes.

 10· ·Q.· How does Mountain Valley direct J.B. Hunt to where

 11· · · ·delivery is expected?

 12· ·A.· They give us the address and the city, state, and

 13· · · ·time to be there.

 14· ·Q.· Okay.· Forgive me for being redundant.· I just --

 15· · · ·because you are not going to be at trial, I have to

 16· · · ·get this on the record in case there are

 17· · · ·objections.· It might seem redundant.· I apologize

 18· · · ·about that.

 19· · · · · · · · · Is J.B. Hunt directed at all as it

 20· · · ·relates to route planning?

 21· ·A.· No.

 22· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 23· · · · · · · · · Go ahead.

 24· ·BY ATTORNEY HANNA:

 25· ·Q.· Who establishes the route planning for these trips?


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 ·1· ·A.· That's part of my job.

 ·2· ·Q.· So J.B. Hunt establishes the route planning; is

 ·3· · · ·that right?

 ·4· ·A.· Correct, yeah.

 ·5· ·Q.· Okay.

 ·6· ·A.· And that can -- planning can be a lot of things

 ·7· · · ·too, but planning in my role is when to pick up,

 ·8· · · ·when to deliver.· Planning for some transportation

 ·9· · · ·jobs could be there is 25 stops on a load and you

 10· · · ·have got to plan which stop to go to first, that

 11· · · ·sort of thing, but for us it's just shipper and

 12· · · ·receiver.· We're just -- that's all we're doing.

 13· ·Q.· And who tells you when to pick up the

 14· · · ·Mountain Valley goods?

 15· ·A.· Mountain Valley does.

 16· ·Q.· And who tells you when to deliver the

 17· · · ·Mountain Valley goods?

 18· ·A.· Mountain Valley -- did you say who?

 19· ·Q.· Yes, sir.

 20· ·A.· Who, yeah, Mountain Valley does.

 21· ·Q.· And does Mountain Valley have specific

 22· · · ·instructions -- forgive me I'm not in the industry,

 23· · · ·so I might not be using the correct terminology.

 24· · · · · · · · · These are water products, right?· Do

 25· · · ·they need to be in a cooler or are there any


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 ·1· · · ·instructions on how they are to be carried by

 ·2· · · ·J.B. Hunt?

 ·3· ·A.· No.· They just asked us, you know, during the

 ·4· · · ·winter months to watch the weather and make sure

 ·5· · · ·we're planning our routes accordingly to make sure

 ·6· · · ·we're not dealing with any frozen product because

 ·7· · · ·water freezes obviously, make sure we're not

 ·8· · · ·dealing with any of that.

 ·9· ·Q.· And when you say they are asking you, you are

 10· · · ·referring to Mountain Valley?

 11· ·A.· Yes, sorry.· Mountain Valley, yes.

 12· ·Q.· Does the shipper, Mountain Valley, control the

 13· · · ·transportation of its goods through J.B. Hunt?

 14· · · · · · · · · ATTORNEY CUMMINGS:· Objection to form.

 15· · · · · · · · · Go ahead.

 16· ·A.· Can you define control?· I guess I don't know

 17· · · ·what --

 18· ·BY ATTORNEY HANNA:

 19· ·Q.·
      Q.· Who controls how J.B. Hunt conducts its

 20· · · ·transportation of Mountain Valley goods?

 21· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 22· ·A.· That's part of my job to make sure, you know,

 23· · · ·resources are used efficiently and appropriately,

 24· · · ·if that's the question you are asking of me.

 25· ·BY ATTORNEY HANNA:


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 ·1· ·Q.· And who gives you directions on how that is done or

 ·2· · · ·how they want it to be done?

 ·3· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·4· · · · · · · · · Go ahead.

 ·5· ·A.· You know, Mountain Valley provides that shipment

 ·6· · · ·calendar that I keep referring to and that's --

 ·7· · · ·those are the directions.· The shipment calendar

 ·8· · · ·has the date, the city, the state, the address on

 ·9· · · ·it, and that's what we follow.

 10· ·BY ATTORNEY HANNA:

 11· ·Q.· I guess -- let me ask you that -- again, forgive me

 12· · · ·for being redundant, but some of this is going to

 13· · · ·end up getting spliced out.

 14· · · · · · · · · You previously referred to the shipment

 15· · · ·calendar, Mr. Rogers.· What is included in the

 16· · · ·shipment calendar?

 17· ·A.· That has --

 18· ·Q.· I'm sorry.· Let me state it in a full sentence.

 19· · · · · · · · · You have previously referred to the

 20· · · ·shipment calendar, Mr. Rogers.· What is included in

 21· · · ·the shipment calendar that Mountain Valley provides

 22· · · ·to J.B. Hunt?

 23· ·A.· It provides the address, city, state, pick up time,

 24· · · ·delivery time, and then some -- you know, sales

 25· · · ·numbers and stuff like that, like a PO number on


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 ·1· · · ·there as well.· I think that's it.· I think that's

 ·2· · · ·all.

 ·3· ·Q.· And all that information is provided to J.B. Hunt

 ·4· · · ·by Mountain Valley; is that right?

 ·5· ·A.· Yes, sir.

 ·6· ·Q.· Would you agree that the entity that functionally

 ·7· · · ·plays the most significant role in directing and

 ·8· · · ·controlling J.B. Hunt for the transportation of

 ·9· · · ·J.B. Hunt goods was Mountain Valley?

 10· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 11· ·BY ATTORNEY HANNA:

 12· ·Q.· Who is the entity that functionally plays the most

 13· · · ·significant role in directing and controlling

 14· · · ·J.B. Hunt Transportation of Mountain Valley goods?

 15· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 16· ·BY ATTORNEY HANNA:

 17· ·Q.· You can answer.

 18· ·A.· Well, I don't know.· You know, the significant role

 19· · · ·is kind of the problem that I am having trouble

 20· · · ·with, I guess, is -- because I feel like, you know,

 21· · · ·as J.B. Hunt Transportation, I feel like we play a

 22· · · ·pretty significant role in delivering those goods

 23· · · ·as well.

 24· · · · · · · · · But, again, I can say the shipment

 25· · · ·calendar is all they provide us, and that has those


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 ·1· · · ·items on there that I was talking about, the city,

 ·2· · · ·the state, pickup date, and delivery date.· I can't

 ·3· · · ·say that they provide a more significant role than

 ·4· · · ·we do, I guess, as J.B. Hunt, but...

 ·5· ·Q.· What else is there to it other than what's the

 ·6· · · ·information provided for the shipments in the

 ·7· · · ·shipment calendar?

 ·8· ·A.· There is not much as far as you have got to manage

 ·9· · · ·your people.· You know, that's --

 10· ·Q.· That's what you're referring to when you say your

 11· · · ·role in this process?

 12· ·A.· Yes, sir.

 13· ·Q.· Okay.· Are there any duties agreed upon between

 14· · · ·J.B. Hunt and Mountain Valley concerning which

 15· · · ·entity is responsible to do that we have not

 16· · · ·discussed?

 17· ·A.· I don't believe so.

 18· ·Q.· Who arranges for the transportation of

 19· · · ·Mountain Valley goods with J.B. Hunt?

 20· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 21· ·A.· The shipment calendar is kind of the arranger.· It

 22· · · ·tells -- it tells the date and the time.· So once

 23· · · ·that's handed to us, we have our arrangements, in a

 24· · · ·sense, and then we plan from there.

 25· ·BY ATTORNEY HANNA:


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 ·1· ·Q.· You are referring to Mountain Valley's shipment

 ·2· · · ·calendar, correct?

 ·3· ·A.· Yes, sir.

 ·4· ·Q.· Okay.· So does Mountain Valley advise J.B. Hunt of

 ·5· · · ·the timing of these shipments?

 ·6· ·A.· Yes.

 ·7· ·Q.· Does Mountain Valley advise J.B. Hunt of the

 ·8· · · ·quantity to be shipped?

 ·9· ·A.· Quantity of product on a truck?

 10· ·Q.· Yes, sir.

 11· ·A.· No, sir, just the weight, the weight of the load.

 12· ·Q.· Okay.· So they don't tell you -- what are you

 13· · · ·referring to when you --

 14· ·A.· The total -- yeah, the quantity could be like 1,000

 15· · · ·bottles of five-gallon water or 1,000 of half

 16· · · ·liters.· We don't really know what's on that truck

 17· · · ·directly.· We just know it weighs a certain amount

 18· · · ·of pounds.

 19· ·Q.· Who advises Mountain Valley of the amount of

 20· · · ·weight to be -- of Mountain Valley -- strike that.

 21· · · · · · · · · Who advises J.B. Hunt of the amount of

 22· · · ·weight of Mountain Valley goods to loaded on the

 23· · · ·J.B. Hunt truck for transportation?

 24· ·A.· So Mountain Valley's customer would place an order

 25· · · ·to Mountain Valley, and then Mountain Valley would


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 ·1· · · ·give us the shipment calendar that --

 ·2· · · · · · · · · ATTORNEY HANNA:· I'll object to that.

 ·3· · · ·That's hearsay.

 ·4· ·BY ATTORNEY HANNA:

 ·5· ·Q.· As far as -- let me ask it again.· As far as what

 ·6· · · ·you know, who advises J.B. Hunt of the weight or

 ·7· · · ·quantity of goods that are to be included on the

 ·8· · · ·truck of Mountain Valley products?

 ·9· ·A.· Mountain Valley advises J.B. Hunt.

 10· ·Q.· Okay.· Who advises J.B. Hunt of the location to

 11· · · ·pick up the goods -- strike that.

 12· · · · · · · · · Who advises -- yeah, no.· I actually

 13· · · ·said that right.

 14· · · · · · · · · Who advises J.B. Hunt of the location to

 15· · · ·pick up the goods?

 16· ·A.· All of our goods ship from the same location.

 17· ·Q.· Which is?

 18· ·A.· Mountain Valley Water.

 19· ·Q.· Okay.· Which is at Mountain Valley's facility in

 20· · · ·Arkansas?

 21· ·A.· Yes, sir.

 22· ·Q.· Okay.· Who advises Mountain Valley of the location

 23· · · ·to drop off its goods?

 24· ·A.· Mountain Valley does.

 25· ·Q.· Okay.· Does Mountain Valley utilize J.B. Hunt's 360


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 ·1· · · ·platform?

 ·2· ·A.· No.

 ·3· ·Q.· Okay.

 ·4· ·A.· Not -- they don't directly, no.

 ·5· ·Q.· Who utilizes -- does anybody utilize --

 ·6· ·A.· Well, the 360 program, our program covers a lot.

 ·7· · · ·So we're -- I mean, as managers we use it all the

 ·8· · · ·time, but they don't have -- they don't have a way

 ·9· · · ·of using that, if that makes sense.

 10· ·Q.· Mountain Valley does not?

 11· ·A.· No.

 12· ·Q.· Okay.· Got it.

 13· · · · · · · · · What is a contractual service agreement?

 14· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 15· · · · · · · · · ATTORNEY HANNA:· Let me ask a

 16· · · ·foundational question for that.

 17· ·BY ATTORNEY HANNA:

 18· ·Q.· Does -- these relations that J.B. Hunt has with its

 19· · · ·customers, is there a contract in place that they

 20· · · ·utilize for these relationships typically?

 21· ·A.· I can't speak on every single relationship.

 22· ·Q.·
      Q.· Sure.· Does Mountain Valley have a contract with

 23· · · ·J.B. Hunt?

 24· ·A.· Yes.

     ·Q.·
 25· ·Q.· What is the name of that contract?


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 ·1· ·A.· I'm not sure.· It's not something I would really

 ·2· · · ·know.

 ·3· ·Q.· Are you familiar with the term "contractual service

 ·4· · · ·agreement"?

 ·5· ·A.· No.· I mean, I have heard in that -- a sentence

 ·6· · · ·like that, but I don't know what that looks like

 ·7· · · ·or, you know, what is in there or anything like

 ·8· · · ·that.

 ·9· ·Q.· So do you know what J.B. Hunt's contractual service

 10· · · ·agreement is?

 11· ·A.· No, sir.· I don't know what it is.

 12· ·Q.· Okay.· I take it you don't know what is included in

 13· · · ·the contractual service agreement?

 14· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 15· · · · · · · · · Trevor, you can answer.

 16· ·A.· Correct.· I don't know what all is included in

         ·that.
 17· · · ·that

 18· ·BY ATTORNEY HANNA:

 19· ·Q.· Do you know if J.B. Hunt entered into a contract

 20· · · ·service agreement with Mountain Valley?

 21· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 22· · · · · · · · · ATTORNEY HANNA:· What is the objection,

 23· · · ·Counsel?

 24· · · · · · · · · ATTORNEY CUMMINGS:· Misstates the

 25· · · ·current testimony and lacks antecedent basis.


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 ·1· · · · · · · · · ATTORNEY HANNA:· I believe he said he

 ·2· · · ·doesn't know what's in it, but I was just asking if

 ·3· · · ·he knows if they entered into one.· Let me ask it

 ·4· · · ·again.

 ·5· ·BY ATTORNEY HANNA:

 ·6· ·Q.· Are you aware if J.B. Hunt entered into a

 ·7· · · ·contractual service agreement with Mountain Valley?

 ·8· ·A.· Yes, because I'm here on-site with them doing my

 ·9· · · ·job.

 10· ·Q.· Okay.· So the answer is yes, J.B. Hunt has entered

 11· · · ·into a contractual service agreement with

 12· · · ·Mountain Valley?· Is that your answer?

 13· ·A.· Yes, I just don't know terms of all that.

 14· ·Q.· I understand.

 15· · · · · · · · · Are you aware if there are multiple

 16· · · ·service agreements with Mountain Valley or if

 17· · · ·there's one service agreement?

 18· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 19· ·BY ATTORNEY HANNA:

 20· ·Q.· You can answer.

 21· ·A.· I'm not sure.

 22· ·Q.· Does J -- you have indicated that J.B. Hunt and the

 23· · · ·shipper, Mountain Valley, do not have an exclusive

 24· · · ·agreement, they have a nonexclusive agreement; is

 25· · · ·that right?


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 ·1· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 ·2· ·BY ATTORNEY HANNA:

 ·3· ·Q.· You can answer.

 ·4· ·A.· Correct.

 ·5· ·Q.· How do you know that?

 ·6· ·A.· Because they can use any freight service they want.

 ·7· · · ·I mean, they could call somebody else to come pick

 ·8· · · ·up a load today, and that has nothing to do with --

 ·9· · · ·there is no agreement that keeps us from -- keeps

         ·us
 10· · · · us from jumping in there, I'm assuming, so...

 11· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 12· ·BY ATTORNEY HANNA:

 13· ·Q.· But you don't know what's in the contractual

 14· · · ·service agreement one way or another; is that

 15· · · ·right?

 16· ·A.· No, sir.· No, sir.

 17· ·Q.· So you are just speculating as to what they could

 18· · · ·or couldn't do; is that right?

 19· ·A.· I just know the way I have done it for the last 11

 20· · · ·years.

 21· ·Q.· And what you are referring to is the fact there if

 22· · · ·there's lack of coverage or not enough trucks, that

 23· · · ·you could help facilitate and get some sort of

 24· · · ·coverage from other trucks; is that correct?

 25· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.


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 ·1· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 ·2· ·BY ATTORNEY HANNA:

 ·3· ·Q.· Is that -- is that accurate or no?

 ·4· · · · · · · · · ATTORNEY CUMMINGS:· Same objection.

 ·5· ·BY ATTORNEY HANNA:

 ·6· ·Q.· You can answer.· When they object --

 ·7· ·A.· I'm sorry.· Yeah.

 ·8· ·Q.· If your counsel, Mr. Mitchals, tells you "do not

 ·9· · · ·answer," that's when you don't answer.· But if he

 10· · · ·just says "objection," he is just putting something

 11· · · ·on the record.

 12· ·A.· Okay.

 13· ·Q.· What was your answer, sir?

 14· ·A.· Yes, that is correct.

 15· ·Q.· Is the only time that you are aware of where

 16· · · ·Mountain Valley utilized another transportation

 17· · · ·entity, other than J.B. Hunt, is where J.B. Hunt

 18· · · ·either didn't have enough trucks or couldn't

 19· · · ·provide the appropriate coverage for a shipment?

 20· ·A.· No, because we have customer pickups, so a customer

 21· · · ·can pick up their own load.· And so that doesn't --

 22· · · ·that didn't utilize us either.· They have their

 23· · · ·choice.

 24· ·Q.· Okay.

 25· ·A.· Yeah, they can pick up any -- if they place an


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 ·1· · · ·order, they can pick it up themselves.· You know,

 ·2· · · ·they don't have to use us.· We are here as a

 ·3· · · ·service to help when we need -- when they need us.

 ·4· ·Q.· So Mountain Valley's customers could come and pick

 ·5· · · ·up their own loads from Mountain Valley's

 ·6· · · ·facilities in Arkansas; is that right?

 ·7· ·A.· Yes.

 ·8· ·Q.· Does that happen from time to time?

 ·9· ·A.· There are particular customers that do that, but

 10· · · ·it's pretty -- we know which customers those are

 11· · · ·typically.· It doesn't really change that often.

 12· ·Q.· And Absopure Water Company has never picked up

 13· · · ·their own loads from Mountain Valley's facilities

 14· · · ·in Arkansas; is that right?

 15· · · · · · · · · ATTORNEY CUMMINGS:· Objection to the

 16· · · ·form of the question.

 17· ·A.· I don't know -- I don't know if that's never.

 18· ·BY ATTORNEY HANNA:

 19· ·Q.· Okay.· Are you aware of Absopure Water Company ever

 20· · · ·picking up their own loads from Mountain Valley's

 21· · · ·facilities in Arkansas?

 22· ·A.· I'm not aware of a time that they picked up their

 23· · · ·own.

 24· ·Q.· J.B. Hunt has a dedicated fleet for

 25· · · ·Mountain Valley; is that right?


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 ·1· ·A.· Mm-hmm, yes, sir.

 ·2· ·Q.· What kind of trucks does J.B. Hunt utilize for

 ·3· · · ·their dedicated fleet for Mountain Valley?

 ·4· ·A.· Like the brand of trucks?

 ·5· ·Q.· Or the kind.

 ·6· ·A.· Typically called a sleeper truck, like a -- they

 ·7· · · ·could range from Freightliner to International to

 ·8· · · ·Peterbilt, different brands of trucks.· But it's

 ·9· · · ·typically called a "sleeper" because they go to

 10· · · ·truck stops and they can sleep in the back, you

 11· · · ·know, for, you know, if it's a long delivery.

 12· ·Q.· And I believe you previously testified that there's

 13· · · ·30 trucks -- is that right? -- that J.B. Hunt has

 14· · · ·dedicated to Mountain Valley for transportation?

 15· ·A.· Yes, plus or minus, you know, depending, like I

 16· · · ·said.

 17· ·Q.· Is that a rough estimate?

 18· ·A.· Yes, sir.

 19· ·Q.· Okay.· And are these trucks assigned to a

 20· · · ·particular route or are they just assigned to

 21· · · ·Mountain Valley?

 22· ·A.· Just to Mountain Valley.

 23· ·Q.· Can you explain what fleet creation means?

 24· ·A.· No, I cannot.· I can speculate on what it means.

 25· ·Q.· We don't want you to speculate.


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 ·1· · · · · · · · · Are you familiar with J.B. Hunt's

 ·2· · · ·website?

 ·3· ·A.· A little bit, yes.

 ·4· ·Q.· So it's for dedicated contract service -- well, let

 ·5· · · ·me take a step back.

 ·6· · · · · · · · · Is J.B. Hunt's website at jbhunt.com?

 ·7· ·A.· Yes, sir.

 ·8· ·Q.· And then do they have a dedicated section for

 ·9· · · ·shippers?

 10· ·A.· Yes, sir.

 11· ·Q.· Okay.· And then they have a section for the

 12· · · ·shippers entitled dedicated contract service

 13· · · ·solutions; is that right?

 14· ·A.· It appears so, yes, sir.

 15· ·Q.· Okay.· And it appears that J.B. Hunt has what they

 16· · · ·refer to as either -- you know, when they have a

 17· · · ·customer, they can either create a fleet or fleet

 18· · · ·creation, convert a fleet which is private fleet

 19· · · ·conversion or a dedicated fleet replacement where

 20· · · ·they're essentially replacing a fleet.

 21· · · · · · · · · Does that refresh your recollection as

 22· · · ·it relates to these services?

 23· ·A.· Yeah, I believe so.

 24· ·Q.· Okay.· So what does fleet creation mean as the term

 25· · · ·is utilized by J.B. Hunt?


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 ·1· ·A.· I believe it's a manufacturer of someone that needs

 ·2· · · ·a dedicated transportation versus using the market.

 ·3· · · ·You know, you can go out to market and you can hire

 ·4· · · ·ten trucks or you can have a dedicated ten trucks,

 ·5· · · ·15 trucks, however amount of trucks you need to

 ·6· · · ·haul your freight.

 ·7· ·Q.· And what does private fleet conversion mean?

 ·8· ·A.· I believe that is where a customer has their own

 ·9· · · ·trucks and they want to stop doing that and convert

 10· · · ·that to J.B. Hunt Transport trucks.

 11· ·Q.· And what does dedicated fleet replacement mean?

 12· ·A.· I don't know what that means.

 13· ·Q.· And with respect to Mountain Valley, did J.B. Hunt

 14· · · ·initially create a fleet or was it a private fleet

 15· · · ·conversion or was it a dedicated fleet replacement?

 16· · · · · · · · · ATTORNEY CUMMINGS:· Objection to form.

 17· ·A.· It was a private fleet conversion, I believe.· They

 18· · · ·had their own trucks.· I don't know when they

 19· · · ·started that or anything like that, but I know they

 20· · · ·had their own trucks before.

 21· · · · · · · · · ATTORNEY HANNA:· Mr. Cummings, what was

 22· · · ·your objection to that one?

 23· · · · · · · · · ATTORNEY CUMMINGS:· Lacks antecedent

 24· · · ·basis and ambiguous.

 25· · · · · · · · · ATTORNEY HANNA:· I'm sorry.· Can you


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 ·1· · · ·repeat your objection?· I didn't hear it.· I'm

 ·2· · · ·sorry.

 ·3· · · · · · · · · ATTORNEY CUMMINGS:· I said lacks

 ·4· · · ·antecedent basis and was ambiguous.

 ·5· ·BY ATTORNEY HANNA:

 ·6· ·Q.· Okay.· Let me ask you -- I want to discuss with

 ·7· · · ·you, Mr. Rogers, the origin of the fleet that

 ·8· · · ·J.B. Hunt utilizes to transport Mountain Valley

 ·9· · · ·goods.· What is the origin of the fleet -- of

 10· · · ·J.B. Hunts' fleet that it utilizes to transport

 11· · · ·Mountain Valley goods?

 12· · · · · · · · · ATTORNEY CUMMINGS:· Objection to form,

 13· · · ·ambiguous.

 14· · · · · · · · · Go ahead.

 15· ·A.· Can you define origin as far as, like, the origin

 16· · · ·of the fleet or the origin of, like, where a driver

 17· · · ·starts his day or I guess --

 18· ·BY ATTORNEY HANNA:

 19· ·Q.· Sure.· No.· I'm actually referring to the fleet.

 20· · · · · · · · · So can you explain to me how J.B. Hunt

 21· · · ·got the fleet that it utilizes to transport the

 22· · · ·Mountain Valley goods?

 23· ·A.· I wasn't here when the fleet started, so I'm not

 24· · · ·sure.

 25· ·Q.· As J.B. Hunt's corporate representative, do you


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 ·1· · · ·have an understanding of where they got the fleet

 ·2· · · ·from?

 ·3· ·A.· I really don't.· Generally, you know, we talked

 ·4· · · ·about the private fleet conversion.· That's all I

 ·5· · · ·really know is that they used to have their own and

 ·6· · · ·now J.B. Hunt does it for them with the dedicated

 ·7· · · ·contract.

 ·8· ·Q.· And I know I'm asking you the same questions.· I'm

 ·9· · · ·just dealing with objections.· So that's why some

 10· · · ·of it might seem repetitive because this video is

 11· · · ·going to end up getting spliced for what we show

 12· · · ·the jury.· I know you just said it's private fleet

 13· · · ·conversion, but that's why I'm asking you again.                  I

 14· · · ·don't want you to think that you're answering

 15· · · ·something wrong, but that's why it's got to be

 16· · · ·repetitive.

 17· ·A.· Understood.

 18· ·Q.· So the fleet that J.B. Hunt utilizes was that --

 19· · · ·can you -- when J.B. Hunt -- was that fleet

 20· · · ·originally belonging to Mountain Valley or was it

 21· · · ·always belonging to J.B. Hunt?

 22· ·A.· From my understanding it originally belonged to

 23· · · ·Mountain Valley.

 24· ·Q.· And what happened there -- what was the process --

 25· · · ·is this what you refer to as private fleet


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 ·1· · · ·conversion?

 ·2· ·A.· Yes, sir.

 ·3· ·Q.· Okay.· Can you explain this private fleet

 ·4· · · ·conversion process as it relates to the fleet for

 ·5· · · ·Mountain Valley goods?

 ·6· ·A.· It's just when a customer simply reaches out to

 ·7· · · ·J.B. Hunt to convert their fleet from their private

 ·8· · · ·drivers, meaning drivers that they employ, and

 ·9· · · ·trucks that they own to outsource that to

 10· · · ·J.B. Hunt.

 11· ·Q.· So does J.B. Hunt essentially purchase these trucks

 12· · · ·from Mountain Valley?

 13· ·A.· No.· That can vary depending on the terms of that

 14· · · ·agreement.

 15· ·Q.· Were these trucks originally owned by

 16· · · ·Mountain Valley?

 17· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 18· ·A.· I'm not sure.· I'm not sure of that.· Based on if

 19· · · ·they owned them, you know, there can be different

 20· · · ·terms there, I believe.

 21· ·BY ATTORNEY HANNA:

 22· ·Q.· Okay.· So the trucks that J.B. Hunt now utilizes to

 23· · · ·transport Mountain Valley goods were initially

 24· · · ·owned or leased by Mountain Valley; is that

 25· · · ·correct?


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 ·1· ·A.· That's not correct.

 ·2· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·3· ·BY ATTORNEY HANNA:

 ·4· ·Q.· Well, what is the correct answer to that?· I don't

 ·5· · · ·know -- I don't understand what I'm missing.

 ·6· ·A.· The trucks are owned by J.B. Hunt.

 ·7· ·Q.· At this time these trucks are owned by J.B. Hunt,

 ·8· · · ·right?

 ·9· ·A.· Yes, I believe they have always been owned by

 10· · · ·J.B. Hunt since that private fleet conversion.

 11· ·Q.· Well, I'm talking about the time of the private

 12· · · ·fleet conversion.

 13· ·A.· Yeah, I'm not -- I wasn't around at that time, so

 14· · · ·I'm not sure who owned the trucks and the terms of

 15· · · ·who leased them.· I'm not sure.

 16· ·Q.· But were the trucks -- before Mountain Valley

 17· · · ·established its business relationship with

 18· · · ·J.B. Hunt, was Mountain Valley utilizing these same

 19· · · ·trucks that are now being utilized by J.B. Hunt?

 20· ·A.· No, because -- to me the truck --· you are

 21· · · ·referring to a truck like the physical truck.                 I

 22· · · ·believe J.B. Hunt bought all of their own equipment

 23· · · ·whenever they had that fleet conversion.· I don't

 24· · · ·believe we kept any Mountain Valley trucks in our

 25· · · ·fleet.


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 ·1· ·Q.· What did J.B. Hunt do with Mountain Valley's trucks

 ·2· · · ·in their fleet at that time?

 ·3· ·A.· I'm not sure.· I'm assuming -- I'm assuming that

 ·4· · · ·Mountain Valley turned those trucks in or sold them

 ·5· · · ·or something of that nature.

 ·6· ·Q.· And the trucks that are -- does J.B. Hunt employ

 ·7· · · ·the truck drivers that transport Mountain Valley

 ·8· · · ·goods?

 ·9· · · · · · · · · ATTORNEY CUMMINGS:· Object to form.

 10· ·A.· A majority of them, yes.

 11· ·BY ATTORNEY HANNA:

 12· ·Q.· What about the other ones?· Are they --

 13· ·A.· Those are the -- those would be third party or

 14· · · ·broker -- that I keep referring to brokers.

 15· ·BY ATTORNEY HANNA:

 16· ·Q.· Sure.· As far as the J.B. Hunt drivers, are they

 17· · · ·employees or independent contractors?

 18· ·A.· All J.B. Hunt drivers are employees.

 19· ·Q.· Okay.· Were those drivers previously employed by

 20· · · ·Mountain Valley before Mountain Valley conducted

 21· · · ·its private fleet conversion with J.B. Hunt?

 22· ·A.· Just one that I'm aware of.

 23· ·Q.· Okay.· Do you agree with the statement that

 24· · · ·Mountain Valley outsourced it's transportation

 25· · · ·needs to J.B. Hunt?


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 ·1· ·A.· Yes.

 ·2· ·Q.· If we go to your declaration for a minute, can you

 ·3· · · ·read paragraph 4 for the record?

 ·4· ·A.· J.B. Hunt transports shipper's cargo on vehicles

 ·5· · · ·owned or leased to J.B. Hunt or by a third party

 ·6· · · ·motor carrier.

 ·7· ·Q.· Okay.· And so J.B. Hunt transports the shipper,

 ·8· · · ·Mountain Valley's, cargo that are owned or leased

 ·9· · · ·to J.B. Hunt by a third party motor carrier; is

 10· · · ·that correct?

 11· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 12· ·A.· Correct.

 13· ·BY ATTORNEY HANNA:

 14· ·Q.· I think I misspoke.· Let me read that one more

 15· · · ·time.

 16· · · · · · · · · So J.B. Hunt transports the shipper,

 17· · · ·Mountain Valley's, cargo on vehicles owned or

 18· · · ·leased to J.B. Hunt or by a third party motor

 19· · · ·carrier; is that correct?

 20· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 21· ·A.· Yes.

 22· ·BY ATTORNEY HANNA:

 23· ·Q.· Okay.· Do you know what other entities would own

 24· · · ·these vehicles?

 25· ·A.· No.


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 ·1· ·Q.· Let's go to paragraph -- can you please read

 ·2· · · ·paragraph 8 of your declaration for the record?

 ·3· ·A.· "Shipper's freight is tendered to J.B. Hunt from

 ·4· · · ·Hot Springs, Arkansas and is transported all over

 ·5· · · ·the country under J.B. Hunt's motor carrier

 ·6· · · ·authority or a broker authority."

 ·7· ·Q.· So who is the shipper for the transportation of

 ·8· · · ·Mountain Valley goods?

 ·9· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 10· ·BY ATTORNEY HANNA:

 11· ·Q.· You can answer.

 12· ·A.· Mountain Valley is the shipper.

 13· ·Q.· And where does the shipper Mountain Valley tender

 14· · · ·its freight?

 15· · · · · · · · · ATTORNEY CUMMINGS:· Objection.

 16· ·A.· They would send it to J.B. Hunt from that shipment

 17· · · ·calendar.

 18· ·BY ATTORNEY HANNA:

 19· ·Q.· Okay.· Other than yourself, sir, does J.B. Hunt

 20· · · ·have any other on-site managers for Mountain Valley

 21· · · ·shipments?

 22· ·A.· I have two managers that work under me.

 23· ·Q.· Okay.· And do they also work at Mountain Valley's

 24· · · ·facility?

 25· ·A.· Yes, sir.


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 ·1· ·Q.· And who supervises the logistics managers?

 ·2· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·3· ·BY ATTORNEY HANNA:

 ·4· ·Q.· Who supervises these managers?

 ·5· ·A.· I do.

 ·6· ·Q.· Does Mountain Valley also supervise the J.B. Hunt

 ·7· · · ·managers that work at their facility?

 ·8· ·A.· No.

 ·9· ·Q.· Okay.· I want to discuss with you the cost of the

 10· · · ·freight.· How did you calculate -- do you provide

 11· · · ·freight quotes for the shipment of goods to

 12· · · ·Mountain Valley?

 13· ·A.· Yes, at times.

 14· ·Q.· How do you calculate the freight quotes for the

 15· · · ·shipment of goods to Mountain Valley?

 16· ·A.· It comes from a broker.· I give them a quote from a

 17· · · ·broker.

 18· ·Q.· And who pays you for the cost of shipment of the

 19· · · ·Mountain Valley goods being transported?

 20· ·A.· They don't pay me --

 21· · · · · · · · · ATTORNEY CUMMINGS:· Object to form.

 22· ·A.· They don't pay J.B. Hunt anything.· They pay

 23· · · ·Mountain Valley.· The broker would bill

 24· · · ·Mountain Valley.· Mountain Valley will pay the

 25· · · ·broker for those services.


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 ·1· · · · · · · · · ATTORNEY MITCHALS:· Counsel, we've been

 ·2· · · ·going about an hour and a half, and I don't want to

 ·3· · · ·interrupt your lineage or your flow here, but would

 ·4· · · ·we be able to find a stopping point maybe in the

 ·5· · · ·next five or ten minutes to give Mr. Rogers maybe a

 ·6· · · ·three- to five-minute break and go off the record?

 ·7· · · · · · · · · ATTORNEY HANNA:· Absolutely.· We also

 ·8· · · ·have probably another 10, 15 minutes, but we can do

 ·9· · · ·that now if you'd like.

 10· · · · · · · · · ATTORNEY MITCHALS:· Would that be okay?

 11· · · · · · · · · ATTORNEY HANNA:· That's okay with me.

 12· · · · · · · · · ATTORNEY CUMMINGS:· Yes.· No objection.

 13· · · · · · · · · VIDEO TECHNICIAN:· Going off the record.

 14· · · ·The time is 1728 UTC.

 15· · · · · · · · · (Off the record at 12:28 p.m.)

 16· · · · · · · · · (Back on the record at 12:36 p.m.)

 17· · · · · · · · · VIDEO TECHNICIAN:· We are on the record.

 18· · · ·The time is 1736 UTC.

 19· ·BY ATTORNEY HANNA:

 20· ·Q.· I want to get back to the cost of the freight for a

 21· · · ·minute.· So can you explain again how the freight

 22· · · ·quotes are calculated for the shipment of

 23· · · ·Mountain Valley goods?

 24· ·A.· It varies because of, you know, a customer picks up

 25· · · ·their own or we may use a broker or we may use a --


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 ·1· · · ·one of our dedicated trucks, as I have spoken

 ·2· · · ·about.· But if someone were to ask me for quote,

 ·3· · · ·you know, I would reach out to a broker or a third

 ·4· · · ·party to get a quote.

 ·5· ·Q.· So when you use your dedicated trucks, how do you

 ·6· · · ·get compensation for the freight costs?

 ·7· ·A.· We bill Mountain Valley weekly for that.

 ·8· ·Q.· Okay.· How are you -- who compensates you for the

 ·9· · · ·services you provide to Mountain Valley?

 10· ·A.· Mountain Valley does.

 11· ·Q.· Do you know how they compensate you?

 12· ·A.· Just we cut a weekly invoice and they pay that

 13· · · ·invoice.

 14· ·Q.· Who pays J.B. Hunt for the cost of Interstate

 15· · · ·transportation?

 16· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 17· · · · · · · · · Go ahead.

 18· ·A.· Mountain Valley.

 19· ·BY ATTORNEY HANNA:

 20· ·Q.· How much revenue did J.B. Hunt earn from

 21· · · ·Mountain Valley in 2023?

 22· ·A.· That's not a number I would have.

 23· ·Q.· Okay.· You have been designated as J.B. Hunt's

 24· · · ·corporate representative concerning J.B. Hunt's

 25· · · ·certificate of records served on April 26, 2023; is


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 ·1· · · ·that correct?

 ·2· ·A.· Yes.

 ·3· ·Q.· Mr. Rogers, I am showing you what's been marked as

 ·4· · · ·Plaintiffs' Exhibit 3.· Do you recognize this

 ·5· · · ·document?

 ·6· ·A.· Yes, sir.

 ·7· ·Q.· What is it?

 ·8· ·A.· Certification of records.

 ·9· ·Q.· J.B. Hunt's certification of records?

 10· ·A.· I believe so.· I'm not familiar.· I have just seen

 11· · · ·it.· I don't really know what exactly it's

 12· · · ·referring to.

 13· ·Q.· Well, you have been designated by J.B. Hunt as a

 14· · · ·corporate representative concerning J.B. Hunt's

 15· · · ·certification of records from -- dated April 26,

 16· · · ·2023; isn't that right?

 17· ·A.· I believe so, yes.

 18· ·Q.· Okay.· Why don't you take a moment to read this

 19· · · ·document and let me know when are you finished?

 20· ·A.· Okay.

 21· ·Q.· Is this a fair and accurate representation of

 22· · · ·J.B. Hunt's certification of records served on

 23· · · ·April 26, 2023?

 24· ·A.· Yes, I believe so.

 25· · · · · · · · · ATTORNEY HANNA:· Counsel, plaintiff will


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 ·1· · · ·move to admit this document into evidence.· Any

 ·2· · · ·objections?

 ·3· · · · · · · · · ATTORNEY CUMMINGS:· Yes, he hasn't

 ·4· · · ·established a firm basis for it.

 ·5· · · · · · · · · ATTORNEY HANNA:· A firm basis for what?

 ·6· · · · · · · · · ATTORNEY CUMMINGS:· For the contents and

 ·7· · · ·accuracy of the document.

 ·8· · · · · · · · · ATTORNEY HANNA:· I disagree.

 ·9· ·BY ATTORNEY HANNA:

 10· ·Q.· Is this a fair and accurate representation of the

 11· · · ·certification of records served by J.B. Hunt,

 12· · · ·Mr. Rogers?

 13· · · · · · · · · ATTORNEY MITCHALS:· You can answer,

 14· · · ·Trevor.

 15· ·A.· Yes.

 16· ·BY ATTORNEY HANNA:

 17· ·Q.· Okay.· First of all, who is Brooke Leddon?

 18· · · · · · · · · ATTORNEY MITCHALS:· I'm going to object

 19· · · ·to the form of the question.

 20· ·BY ATTORNEY HANNA:

 21· ·Q.· What role does -- do you know a Brooke Leddon,

 22· · · ·Mr. Rogers?

 23· ·A.· Yes.

 24· · · · · · · · · ATTORNEY HANNA:· And for the record,

 25· · · ·it's spelled B-r-o-o-k-e, L-e-d-d-o-n.


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 ·1· ·BY ATTORNEY HANNA:

 ·2· ·Q.· Who is Ms. Brooke Leddon?

 ·3· ·A.· In-house counsel for J.B. Hunt.

 ·4· ·Q.· Okay.· Can you please read what the certification

 ·5· · · ·of record states for the record?

 ·6· ·A.· "I, Brooke Leddon, hereby certify in writing that I

 ·7· · · ·am employed by J.B. Hunt Transport, Inc., also

 ·8· · · ·J.B. Hunt.· My official title is employment

 ·9· · · ·litigation and regulatory counsel.· I'm familiar

 10· · · ·with the below documents and records received,

 11· · · ·created, and relied upon by J.B. Hunt in the

 12· · · ·ordinary course of its business and that the below

 13· · · ·records do not exist to:· Contractual service

 14· · · ·agreements relating to Absopure Water Company,

 15· · · ·LLC."

 16· ·Q.· Okay.· What does this -- what is the significance

 17· · · ·of this certificate?

 18· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 19· ·BY ATTORNEY HANNA:

 20· ·Q.· Go ahead.· No.· Let me reask it.

 21· · · · · · · · · What does that certificate provide?

 22· ·A.· To me, it states that there is no contract or

 23· · · ·service agreement with Absopure Water Company.

 24· ·Q.· And what are the implications or what is the

 25· · · ·significance of that?


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 ·1· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 ·2· · · · · · · · · ATTORNEY CUMMINGS:· Objection.

 ·3· · · · · · · · · ATTORNEY MITCHALS:· You can respond.

 ·4· ·A.· I'm not sure.· Just stating that we have no

 ·5· · · ·contract with Absopure Water Company, I believe.

 ·6· ·BY ATTORNEY HANNA:

 ·7· ·Q.· Okay.· You understand that you are designated as a

 ·8· · · ·corporate representative concerning J.B. Hunt's

 ·9· · · ·certificate of record served on April 26, 2023,

 10· · · ·correct?

 11· ·A.· Yes.

 12· ·Q.· In preparing for this deposition, did you review

 13· · · ·this document with your counsel?

 14· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 15· · · · · · · · · You can respond, Trevor.

 16· ·A.· Yes, I have seen it.

 17· ·BY ATTORNEY HANNA:

 18· ·Q.· Do you understand what contract service agreements

 19· · · ·are?

 20· ·A.· I believe so, I think.

 21· ·Q.· Okay.· Do you understand what the significance is

 22· · · ·of the fact that Absopure Water Company does not

 23· · · ·have a contractual service agreement with

 24· · · ·J.B. Hunt?

 25· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.


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 ·1· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 ·2· · · · · · · · · ATTORNEY HANNA:· What's the objection,

 ·3· · · ·Counsel?

 ·4· · · · · · · · · ATTORNEY MITCHALS:· My objection is

 ·5· · · ·premised on the idea that it calls for the witness

 ·6· · · ·to speculate and I can maintain the objection on

 ·7· · · ·that.

 ·8· · · · · · · · · ATTORNEY CUMMINGS:· Likewise, it lacks

 ·9· · · ·an antecedent basis.

 10· · · · · · · · · Go ahead.

 11· ·BY ATTORNEY HANNA:

 12· ·Q.· Do you understand what the significance is of the

 13· · · ·fact that Absopure Water Company does not have a

 14· · · ·contractual service agreement with J.B. Hunt?

 15· ·A.· Do I understand the significance?

 16· ·Q.· Yes.

 17· ·A.· I do not understand the significance.· To my

 18· · · ·knowledge, there is no contract with Absopure Water

 19· · · ·Company.

 20· ·Q.· Okay.· What does it mean if Absopure Water Company

 21· · · ·does not have a contract with J.B. Hunt?

 22· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

 23· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 24· ·A.· It would mean we don't do business with them

 25· · · ·directly.· We work with our customers.


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 ·1· ·BY ATTORNEY HANNA:

 ·2· ·Q.· Okay.· So let me ask you that.· Does J.B. Hunt do

 ·3· · · ·business directly with Absopure Water Company?

 ·4· ·A.· Not to my knowledge.

 ·5· ·Q.· Are you aware of any agreements that exist between

 ·6· · · ·J.B. Hunt and defendant Absopure Water Company?

 ·7· ·A.· I am not.

 ·8· ·Q.· This certificate refers to records that are relied

 ·9· · · ·upon in the ordinary course of business.

 10· · · · · · · · · Do you see that?

 11· ·A.· Yes, I see that.

 12· ·Q.· So does J.B. Hunt certify that it does not rely

 13· · · ·upon any records relating to Absopure Water Company

 14· · · ·in their ordinary course of business?

 15· · · · · · · · · ATTORNEY MITCHALS:· Objection, form.

 16· ·A.· Correct.

 17· ·BY ATTORNEY HANNA:

 18· ·Q.· This certificate refers to documents and records

 19· · · ·received in the ordinary course of its business.

 20· · · · · · · · · Do you see that?

 21· ·A.· Right, yes.

 22· ·Q.· Does J.B. Hunt receive any records from defendant

 23· · · ·Absopure Water Company in the ordinary course of

 24· · · ·its business?

 25· · · · · · · · · ATTORNEY CUMMINGS:· Objection.


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 ·1· ·A.· Not that I'm aware of.

 ·2· ·BY ATTORNEY HANNA:

 ·3· ·Q.· Mr. Rogers, you and I have never spoken before

 ·4· · · ·today; is that right?

 ·5· ·A.· Correct.

 ·6· ·Q.· Have you ever spoken with Absopure or a

 ·7· · · ·representative of Absopure before today's

 ·8· · · ·deposition?

 ·9· ·A.· Just the emails I referred to earlier about

 10· · · ·delivery times, that sort of thing.

 11· · · · · · · · · ATTORNEY HANNA:· All right.· I might be

 12· · · ·done.· We can go off the record for a minute.

 13· · · · · · · · · ATTORNEY CUMMINGS:· No objection.

 14· · · · · · · · · VIDEO TECHNICIAN:· Going off the record.

 15· · · ·The time is 1745 UTC.

 16· · · · · · · · · (Off the record at 12:45 p.m.)

 17· · · · · · · · · (Back on the record at 12:59 p.m.)

 18· · · · · · · · · VIDEO TECHNICIAN:· We were back on

 19· · · ·record.· The time is 1759 UTC.

 20· ·BY ATTORNEY HANNA:

 21· ·Q.· Mr. Rogers, you have previously discussed the

 22· · · ·shipment calendars for Mountain Valley.

 23· · · · · · · · · Do you recall that discussion?

 24· ·A.· Yes, sir.

 25· ·Q.· Can you please advise me what's included in these


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 ·1· · · ·shipment calendars?

 ·2· ·A.· It tells us who the shipment is going to, the

 ·3· · · ·address, city, state, pickup date, and delivery

 ·4· · · ·date, I believe, is everything -- I'm sorry, the

 ·5· · · ·weight of the shipment as well.· I mentioned that

 ·6· · · ·earlier, the weight of the shipment is on there.

 ·7· ·Q.· And that information is provided to J.B. Hunt by

 ·8· · · ·Mountain Valley; is that correct?

 ·9· ·A.· Yes, sir.

 10· · · · · · · · · ATTORNEY HANNA:· Okay.· I have no

 11· · · ·further questions.· Thank you.

 12· · · · · · · · · ATTORNEY CUMMINGS:· Okay.· Are you done,

 13· · · ·Mr. Hanna?

 14· · · · · · · · · ATTORNEY HANNA:· Well, we have to call

 15· · · ·the Court, but -- why, what did you want to --

 16· · · · · · · · · ATTORNEY CUMMINGS:· No, if you're done

 17· · · ·with your examination, let me know and -- because I

 18· · · ·have some follow-up questions for the witness.

 19· · · · · · · · · ATTORNEY HANNA:· I mean, if you prefer

 20· · · ·to do that before we call the court, that's fine to

 21· · · ·knock it out.

 22· · · · · · · · · ATTORNEY CUMMINGS:· I have no strong

 23· · · ·preference.

 24· · · · · · · · · ATTORNEY MITCHALS:· No preference.

 25· · · · · · · · · ATTORNEY HANNA:· If you don't object to


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 ·1· · · ·that, I don't mind you going there.

 ·2· · · · · · · · · ATTORNEY CUMMINGS:· Well, before I begin

 ·3· · · ·my questioning, I would like to go off the record

 ·4· · · ·briefly.

 ·5· · · · · · · · · VIDEO TECHNICIAN:· Going off the record.

 ·6· · · ·The time is 1801 UTC.

 ·7· · · · · · · · · (Off the record at 1:01 p.m.)

 ·8· · · · · · · · · (Back on the record at 1:03 p.m.)

 ·9· · · · · · · · · VIDEO TECHNICIAN:· We are back on the

 10· · · ·record.· The time is 1803 UTC.

 11· · · · · · · · · ATTORNEY HANNA:· Actually I'm sorry,

 12· · · ·Mr. Cummings.· Do you mind if I ask one last

 13· · · ·question before you go?

 14· · · · · · · · · ATTORNEY CUMMINGS:· No, go ahead.

 15· · · · · · · · · ATTORNEY HANNA:· I'm sorry about that.

 16· ·BY ATTORNEY HANNA:

 17· ·Q.· Mr. Rogers, once J.B. Hunt delivers Mountain Valley

 18· · · ·goods to Absopure, do you know what happens to

 19· · · ·those goods?

 20· ·A.· No.

 21· · · · · · · · · ATTORNEY HANNA:· Okay.· No further

 22· · · ·questions.

 23· · · · · · · · · Go ahead, Mr. Cummings.

 24· · · · · · · · · ATTORNEY CUMMINGS:· Okay.

 25


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 ·1· · · · · · · · · · · · EXAMINATION

 ·2· ·BY ATTORNEY CUMMINGS:

 ·3· ·Q.· Well, Mr. Rogers, I'd like to refer you back to

 ·4· · · ·what I believe has been, if I recall, Exhibit 1,

 ·5· · · ·that is the declaration that you provided in this

 ·6· · · ·case.

 ·7· · · · · · · · · Do you recall that?

 ·8· ·A.· Yes, sir.

 ·9· · · · · · · · · ATTORNEY HANNA:· Objection, form.

 10· ·BY ATTORNEY CUMMINGS:

 11· ·Q.· Let me see the best one.· I will put my own copy up

 12· · · ·here that I happen to have of it.· If you give me a

 13· · · ·minute, I will put that up.

 14· · · · · · · · · You can see in front of you the document

 15· · · ·entitled "Declaration of Trevor Rogers."· Do you

 16· · · ·see that?

 17· ·A.· Yes, sir.

 18· ·Q.· I'll give you a minute to look and make sure it is

 19· · · ·the same.· Do you see any differences between it

 20· · · ·and what was -- I'm scrolling down briefly.· I can

 21· · · ·make it a little smaller so you can see it all at

 22· · · ·once -- between the declaration that you testified

 23· · · ·about earlier in today's deposition?

 24· ·A.· I believe it's the same.

 25· ·Q.· Okay.·
          Okay.· Who drafted this declaration?


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 ·1· ·A.· I did with the assistance of J.B. Hunt's legal

 ·2· · · ·team.

 ·3· ·Q.· Okay.· And what was the extent of your

 ·4· · · ·participation in your drafting that you did with

 ·5· · · ·legal counsel?

 ·6· ·A.· It was a team effort.· So we worked together to

 ·7· · · ·produce it.

 ·8· ·Q.· Okay.· I'm referring you to paragraph 1 in -- where

 ·9· · · ·on paragraph 1 it references a DS Services of

 10· · · ·America, Inc., DBA Primo Water North America, and

 11· · · ·f/k/a Mountain Valley Spring Company.

 12· · · · · · · · · Do you see the last two lines of that

 13· · · ·first paragraph?

 14· ·A.· Yes, sir.

 15· ·Q.· And after that in parenthesis there is, hereon

 16· · · ·referred to as, quote/unquote, "shipper."

 17· · · · · · · · · Do you see that?

 18· ·A.· Yes, sir.

 19· ·Q.· Did you choose to use that term "shipper" at that

 20· · · ·place in your declaration?

 21· ·A.· Yes, sir.

 22· ·Q.· And why did you use that term "shipper"?

 23· ·A.· "Shipper" to me is just anywhere the loads pick up

 24· · · ·from.· All of our loads pick up from

 25· · · ·Mountain Valley Spring Company.· So that's why I


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 ·1· · · ·chose that word.

 ·2· ·Q.· And Mr. Rogers, do you have any legal background or

 ·3· · · ·legal training?

 ·4· ·A.· Not at all, no, sir.

 ·5· ·Q.· Are you -- do you have any familiarity with the

 ·6· · · ·Fair Labor Standards Act?

 ·7· ·A.· No, sir.

 ·8· · · · · · · · · ATTORNEY HANNA:· Objection.

 ·9· ·BY ATTORNEY CUMMINGS:

 10· ·Q.· Are you aware of any legal meaning to the term

 11· · · ·"shipper" with respect to labor law or the Fair

 12· · · ·Labor Standards Act?

 13· · · · · · · · · ATTORNEY HANNA:· Objection, form.

 14· ·A.· No, sir, I'm not.

 15· ·BY ATTORNEY CUMMINGS:

 16· ·Q.· I'll take this down now.

 17· · · · · · · · · You mentioned that you -- you testified

 18· · · ·that you received a shipment calendar from

 19· · · ·Mountain Valley.· Do you recall that?

 20· ·A.· Yes, sir.

 21· ·Q.· Are you aware who within Mountain Valley sends you

 22· · · ·the shipment calendars both at -- the name of a

 23· · · ·person or position of a person?

 24· ·A.· Yes.

 25· · · · · · · · · ATTORNEY HANNA:· Objection, form.


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 ·1· ·BY ATTORNEY CUMMINGS:

 ·2· ·Q.· And who is that?

 ·3· ·A.· The customer service team at Mountain Valley.

 ·4· ·Q.· Okay.· Do you -- have you -- in your -- in working

 ·5· · · ·with Mountain Valley, have you had -- do you have

 ·6· · · ·any other interactions with the customer service

 ·7· · · ·team at Mountain Valley other than receiving the

 ·8· · · ·shipment calendar?

 ·9· ·A.· Yes, sir, every day.

 10· ·Q.· And what type -- what interactions do you have with

 11· · · ·the customer service team?

 12· ·A.· We all work together every day to make sure the

 13· · · ·planning and the pickups and deliveries -- not

 14· · · ·really deliveries, but the pickups go smoothly.

 15· ·Q.· Okay.· Again, I'm sorry, my notes are a little

 16· · · ·obscure.

 17· · · · · · · · · How long have you been on-site at

 18· · · ·Mountain Valley while working for J.B. Hunt?

 19· ·A.· I believe it's eight years.

 20· ·Q.· Okay.· And have you interacted with the

 21· · · ·Mountain Valley customer service every day for

 22· · · ·those that you have been on-site at J.B. Hunt -- I

 23· · · ·mean at Mountain Valley?

 24· ·A.· Yes, sir.

 25· ·Q.· Are you aware of the -- how the Mountain Valley


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 ·1· · · ·customer service gets the information to put on the

 ·2· · · ·shipment calendars that you receive?

 ·3· ·A.· No, sir.· I believe it varies by customer.

 ·4· ·Q.· Are you aware of a number of different ways that it

 ·5· · · ·receives information?

 ·6· · · · · · · · · ATTORNEY HANNA:· Objection, hearsay,

 ·7· · · ·calls for speculation.

 ·8· ·A.· Yes.

 ·9· ·BY ATTORNEY CUMMINGS:

 10· ·Q.· Did you say yes?

 11· ·A.· Yes, I'm aware of a number of different ways, yes.

 12· ·Q.· And what are those ways?

 13· · · · · · · · · ATTORNEY HANNA:· Same objection,

 14· · · ·speculation, hearsay.

 15· · · · · · · · · Mr. Rogers, if you can, just give me a

 16· · · ·second so we have a clean record so we're not

 17· · · ·talking over each other.· After Mr. Cummings asks a

 18· · · ·question, just give me a second to object.

 19· · · · · · · · · For the record, I'm objecting to this

 20· · · ·line of questions as hearsay and calls for

 21· · · ·speculation.

 22· ·A.· What was the previous question?· I'm sorry.

 23· ·BY ATTORNEY CUMMINGS:

 24· ·Q.· The question was, what are the different ways that

 25· · · ·you are aware of that the Mountain Valley customer


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 ·1· · · ·service gets the information that gets put onto the

 ·2· · · ·shipment calendar that they gave to J.B. Hunt?

 ·3· · · · · · · · · ATTORNEY HANNA:· Objection, calls for

 ·4· · · ·hearsay and speculation.

 ·5· · · · · · · · · You can answer.

 ·6· ·A.· Email, fax, phone call.· Those are the ways that I

 ·7· · · ·would note that -- there may be others.

 ·8· ·BY ATTORNEY CUMMINGS:

 ·9· ·Q.· And how did you come by this knowledge?

 10· ·A.· Just working here over the number of years, working

 11· · · ·closely with them.

 12· ·Q.· And what were you able to observe in working

 13· · · ·closely with them that gave you this knowledge?

 14· · · · · · · · · ATTORNEY HANNA:· Objection, calls for

 15· · · ·speculation, hearsay.

 16· ·A.· Overhearing conversations, overhearing talks about

 17· · · ·an email, about an order or something like that.

 18· ·BY ATTORNEY CUMMINGS:

 19· ·Q.· Have you ever witnessed any of the emails that

 20· · · ·Mountain Valley receives from its customers or

 21· · · ·Mountain Valley customer service receives from its

 22· · · ·customers?

 23· ·A.
     ·A.·· I have seen a couple, yes, sir.

 24· ·Q.· Okay.· Have you actually been present at any point

 25· · · ·during a phone conversation or a conversation that


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 ·1· · · ·Mountain Valley customer service is -- customer

 ·2· · · ·service had with its customers?

 ·3· ·A.· No, sir, just overhearing -- like I said,

 ·4· · · ·overhearing conversations, not directly on the line

 ·5· · · ·or anything like that.

 ·6· ·Q.· Okay.· Prior to this lawsuit and your having been

 ·7· · · ·involved in it, were you aware of the defendant

 ·8· · · ·Absopure Water Company, LLC?

 ·9· ·A.· Yes, sir.

 10· ·Q.· And how did you come by that awareness?

 11· ·A.· Another one of our customers that we deliver to on

 12· · · ·that shipment calendar.· You know their name is on

 13· · · ·there, you know, weekly or biweekly or however

 14· · · ·often they order.

 15· ·Q.· Have you ever directly interacted with Absopure

 16· · · ·during your time working for J.B. Hunt?

 17· ·A.· Yes, sir.

 18· ·Q.· What have those interactions been?

 19· ·A.· Just ETAs of deliveries.· They can take a delivery

 20· · · ·on a certain day, you know, around the holiday or a

 21· · · ·particular day that maybe we had to push the load

 22· · · ·out a day or bring it forward a day for delivery,

 23· · · ·something like that.

 24· ·Q.· And how have you had these interactions, phone,

 25· · · ·email, or any other way?


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 ·1· ·A.· It would be phone or email, one of the two.

 ·2· ·Q.· Do you recall the name of anybody or any persons,

 ·3· · · ·could be more than one, that you have interacted

 ·4· · · ·with at Absopure?

 ·5· ·A.· No, I can't remember their names off the top of my

 ·6· · · ·head.

 ·7· ·Q.· Okay.· Do you have any knowledge of the -- other

 ·8· · · ·than the mere fact that they're a customer that you

 ·9· · · ·make shipments to, do you have any knowledge beyond

 10· · · ·that of the relationship between Mountain Valley

 11· · · ·and defendant Absopure?

 12· · · · · · · · · ATTORNEY HANNA:· Objection, calls for

 13· · · ·speculation.

 14· ·A.· Sorry about that.· No, sir.

 15· ·BY ATTORNEY CUMMINGS:

 16· ·Q.· Okay.· And are you -- do you use or are you

 17· · · ·familiar with a term called "free on board" in the

 18· · · ·shipping industry?

 19· ·A.· I have heard that term before, but I don't know a

 20· · · ·definition of that term.

 21· ·Q.· Okay.· Is that a term that you use in your

 22· · · ·day-to-day work with J.B. Hunt?

 23· ·A.· No, sir.

 24· ·Q.· Okay.· Do you have any knowledge whatsoever of who

 25· · · ·owns the freight that Mountain Valley ships to its


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 ·1· · · ·customers when that freight is on a truck -- one of

 ·2· · · ·J.B. Hunt's dedicated trucks or a broker truck?

 ·3· ·A.· No, sir.· I have no knowledge of that.

 ·4· ·Q.·
      Q.· You mentioned that J.B. Hunt provides a weekly

 ·5· · · ·invoice to Mountain Valley for its carrying

 ·6· · · ·freight.

 ·7· · · · · · · · · Do you recall that?

 ·8· ·A.· Yes, sir.

 ·9· ·Q.· Are you aware of how -- what are the bases for

 10· · · ·determining the amount of that invoice?

 11· ·A.· Per mile and per stop are the bases, typically.

 12· ·Q.· So that's for -- and it's -- and you recall it's a

 13· · · ·weekly basis; correct?

 14· ·A.· Yes, sir.

 15· ·Q.· And so is it correct then that that invoice was

 16· · · ·based on the number of miles that -- let me take a

 17· · · ·step back.· The invoice -- that is only for the

 18· · · ·J.B. Hunt dedicated trucks; is that correct?

 19· ·A.· Yes, sir.

 20· ·Q.· That invoice does not include trucks that J.B. Hunt

 21· · · ·arranges, but through a broker; is that correct?

 22· · · · · · · · · ATTORNEY HANNA:· Objection, leading,

 23· · · ·foundation.

 24· · · · · · · · · You can answer.

 25· ·A.· Correct.· That does not include any brokerage or


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 ·1· · · ·third party logistics.
                      logistics

 ·2· ·BY ATTORNEY CUMMINGS:

 ·3· ·Q.· Could you please explain for me when you -- when

 ·4· · · ·goods are shipped on a truck that it's not a

 ·5· · · ·dedicated truck from J.B. Hunt, but that J.B. Hunt

 ·6· · · ·is involved with the brokering, please explain for

 ·7· · · ·me J.B. Hunt's involvement in that brokering of

 ·8· · · ·those trucks.

 ·9· ·A.· We typically -- you know, we get our shipment

 10· · · ·calendar.· There may be a load we cannot cover on

 11· · · ·there with our trucks, so we make a phone call or

 12· · · ·send an email to one of our third party providers

 13· · · ·that I refer to.· Then they essentially send their

 14· · · ·own truck in, pick their own -- pick that load up

 15· · · ·and deliver it and then they bill Mountain Valley

 16· · · ·directly for that shipment.

 17· ·Q.· In those cases, who provides the -- do you provide

 18· · · ·to the broker the information that is on the

 19· · · ·shipment calendar that you received from J.B. Hunt?

 20· ·A.· Yes, sir.

 21· · · · · · · · · ATTORNEY HANNA:· Objection, that

 22· · · ·misstates the prior testimony.

 23· ·BY ATTORNEY CUMMINGS:

 24· ·Q.· In cases where J.B. Hunt has contacted a broker for

 25· · · ·delivery of Mountain Valley products, are you aware


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 ·1· · · ·of whether or not Mountain Valley independently

 ·2· · · ·provides any shipment information to the broker or

 ·3· · · ·the trucking company hired by the broker?

 ·4· · · · · · · · · ATTORNEY HANNA:· Objection, calls for

 ·5· · · ·speculation.

 ·6· ·A.· They just provide a bill of lading at the time of

 ·7· · · ·pickup.· That's all that I know that -- I mean, I'm

 ·8· · · ·not even sure if that's what you are asking.

 ·9· ·BY ATTORNEY CUMMINGS:

 10· ·Q.· The bill of lading --

 11· ·A.· I don't talk directly to a broker, no.

 12· ·Q.· What is -- what do you mean by "bill of lading"?

 13· ·A.· It's basically stating what's on the truck when

 14· · · ·it's loaded, and its bills that are -- the driver

 15· · · ·is required to have the bills of what's on the

 16· · · ·trailer that he's hauling, you know, to a delivery

 17· · · ·destination.

 18· ·Q.· Does Mountain Valley provide a bill of lading to

 19· · · ·the drivers for J.B. Hunt's dedicated trucks?

 20· ·A.· Yes, for every load that leaves Mountain Valley,

 21· · · ·they provide a bill of lading for that.

 22· ·Q.· Have you seen those bills of lading?

 23· ·A.· Yes, sir.

 24· ·Q.· What is the information contained in that bill of

 25· · · ·lading?


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  ·1· ·A.· Delivery destination, shows shipping origin, where

  ·2· · · ·it originated from.· It can show various bottles of

  ·3· · · ·water, various sizes that are on there, or it could

  ·4· · · ·show all of the same.· You know, it could be

  ·5· · · ·whatever is on the actual trailer that's loaded.

  ·6· · · ·Then the weight of the shipment is very important,

  ·7· · · ·you know, as far as how much cargo, the total

  ·8· · · ·weight of the cargo that's on there, and I think

  ·9· · · ·that's it.

  10· ·Q.· So does the bill of lading contain any information

  11· · · ·that has not been provided by the -- in the

  12· · · ·shipment calendar for that particular shipment?

  13· ·A.· It's pretty much the same information, other than

  14· · · ·maybe some PO numbers or some different SKUs of

  15· · · ·product and stuff like that that maybe is not on

  16· · · ·the actual bill of lading.· There can be -- there

  17· · · ·can be a few differences, I guess.

  18· ·Q.· So getting back, on the shipment calendar, does the

  19· · · ·shipment you receive from Mountain Valley -- or

  20· · · ·J.B. Hunt receives from Mountain Valley, does

  21· · · ·that -- other than the weight, does it include any

  22· · · ·product descriptions?

  23· ·A.· No, sir.

  24· ·Q.· Is it correct then that the bill of lading would

  25· · · ·have some -- some information, product descriptions


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  ·1· · · ·on it?

  ·2· ·A.· To my knowledge, every bill of lading would have a

  ·3· · · ·product description for any -- yeah, for every

  ·4· · · ·shipper.

  ·5· ·Q.· And does that include the numbers of any particular

  ·6· · · ·product that are included in that shipment?

  ·7· ·A.· Yes, sir.

  ·8· ·Q.· For the products that are contained on J.B. Hunt's

  ·9· · · ·dedicated trucks, once they are loaded onto the

  10· · · ·trucks, do you have any knowledge of who has -- who

  11· · · ·owns or who has title to that product?

  12· ·A.· I don't know.

  13· ·Q.· So it's correct to say that if there was a shipment

  14· · · ·to any particular customer, you do not know when

  15· · · ·that product is located -- that product is placed

  16· · · ·onto the truck, you do not know whether or not the

  17· · · ·customer owns that or Mountain Valley or

  18· · · ·potentially anybody else; is that correct?

  19· · · · · · · · · ATTORNEY MITCHALS:· Objection, compound,

  20· · · ·asked and answered.

  21· ·A.· That's true.

  22· ·BY ATTORNEY MITCHALS:

  23· ·Q.· Getting back to -- getting back to the weekly

  24· · · ·invoice that J.B. Hunt provides to Mountain Valley,

  25· · · ·as I recall, you testified that the amount of the


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  ·1· · · ·invoice is based on the number of miles driven and

  ·2· · · ·the number of stops, correct?

  ·3· ·A.· Yes.

  ·4· ·Q.· Do you have specifics, like is it a per-mile amount

  ·5· · · ·or per-stop amount that are included in that?

  ·6· ·A.· There are, yes.

  ·7· ·Q.· Are you aware of whether or not Mountain Valley in

  ·8· · · ·turn bills its customers or its -- or the receivers

  ·9· · · ·for any of the charges on the invoices that

  10· · · ·J.B. Hunt provides to Mountain Valley?

  11· ·A.· I don't have a great understanding of that, but --

  12· · · · · · · · · ATTORNEY HANNA:· Objection, calls for

  13· · · ·speculation.

  14· ·A.· I'm not really sure.

  15· ·BY ATTORNEY MITCHALS:

  16· ·Q.· I'm just looking over some of my notes.

  17· · · · · · · · · Did your invoices or charges that

  18· · · ·J.B. Hunt charges to Mountain Valley for a

  19· · · ·dedicated run, do you know whether those charges

  20· · · ·include any cost for insurance of the goods?

  21· ·A.· I'm not sure.

  22· ·Q.· Can you say customers pick up -- arrange for the

  23· · · ·delivery or pickup -- or use their own trucks to

  24· · · ·pick up goods from Mountain Valley in Arkansas?

  25· · · · · · · · · ATTORNEY HANNA:· Objection, calls for


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  ·1· · · ·speculation, compound.

  ·2· ·A.· Yeah.· I'm not sure an exact number, but a handful,

  ·3· · · ·not very many.

  ·4· ·BY ATTORNEY MITCHALS:

  ·5· ·Q.· Who -- for Mountain Valley's -- I mean, for

  ·6· · · ·J.B. Hunt's dedicated trucks to Mountain Valley,

  ·7· · · ·who determines the particular route that the truck

  ·8· · · ·will drive from Mountain Valley to the customer?

  ·9· ·A.· The driver typically.

  10· ·Q.· And what I mean, just to be clear, I mean by which

  11· · · ·particular roads and directions to take, correct?

  12· ·A.· Right.· Yes.

  13· ·Q.· Does Mountain Valley have -- ever give directions

  14· · · ·or any indications concerning the choice of routes,

  15· · · ·the choice of directions that a driver of a

  16· · · ·dedicated truck will take?

  17· ·A.· No, sir.

  18· ·Q.· I want to make sure I understand your testimony.

  19· · · ·Is it correct that the shipment calendar that

  20· · · ·Mountain Valley provides to J.B. Hunt will include

  21· · · ·shipments that are not yet -- not yet ready for

  22· · · ·shipment on the date you receive them; is that

  23· · · ·correct?

  24· ·A.· Yes.· It's a forward-looking calendar.· You know,

  25· · · ·it could be five to seven days looking out.


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  ·1· ·Q.· Okay.· So in this forward-looking calendar, when --

  ·2· · · ·does the shipment calendar then include a date on

  ·3· · · ·it, or does it provide a date that Mountain Valley

  ·4· · · ·says the shipment will be ready to be picked up?

  ·5· ·A.· Correct.

  ·6· ·Q.· Does it ever occur that a shipment calendar will

  ·7· · · ·include a shipment that first included a shipment

  ·8· · · ·that is ready -- for the first time ready for that

  ·9· · · ·shipment for that day?

  10· ·A.· Can you say that again?

  11· ·Q.· Yeah, sorry.· Let me take a step back.

  12· · · · · · · · · So is it correct to say that any

  13· · · ·particular shipment from Mountain Valley to its

  14· · · ·customers will appear more than once on the

  15· · · ·shipment calendars that you receive, meaning appear

  16· · · ·on multiple days; is that correct?

  17· · · · · · · · · ATTORNEY HANNA:· Objection, form.

  18· ·A.· Right.· It could -- it could show -- if it's seven

  19· · · ·days away, it's going to show every day until that

  20· · · ·ship date on that calendar.

  21· ·BY ATTORNEY MITCHALS:

  22· ·Q.· Is it true that it will include, beyond the

  23· · · ·shipment calendar that you receive on the date,

  24· · · ·that it is going to be picked up by J.B. Hunt's

  25· · · ·trucks, correct?


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  ·1· ·A.· Can you rephrase one more time?

  ·2· ·Q.· Okay.· So it appears -- you said usually seven days

  ·3· · · ·out.· You said -- and it's correct that it will

  ·4· · · ·appear on it every day until the shipment is ready;

  ·5· · · ·is that correct?

  ·6· ·A.· Yes, sir.

  ·7· ·Q.· And then so including -- it will appear on the

  ·8· · · ·calendar that you are handed or given on the day

  ·9· · · ·that shipment is scheduled to be picked up?

  10· ·A.· Yes, sir.

  11· ·Q.· So every given shipment calendar will include,

  12· · · ·among other things, shipments that are scheduled to

  13· · · ·be picked up on the same date that it's on the

  14· · · ·calendar?

  15· ·A.· Yes.· Yes.· If we're doing our job appropriately,

  16· · · ·we would have that planned well in advance of the

  17· · · ·day that it ships.

  18· ·Q.· Okay.· Does it ever occur that the shipment date

  19· · · ·put on the calendar, the first time you received

  20· · · ·it -- you receive it for a particular shipment does

  21· · · ·not turn out to be the day it's actually ready?

  22· ·A.· Rarely, but yes, that does happen at times.

  23· ·Q.· Earlier you referred -- I believe it was a bill of

  24· · · ·lading.· Those bills of lading that Mountain Valley

  25· · · ·gives to the truck drivers include a PO number; is


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  ·1· · · ·that correct?

  ·2· · · · · · · · · ATTORNEY HANNA:· Objection, form.

  ·3· ·A.· I believe it's a bill of lading number, not a PO

  ·4· · · ·number.

  ·5· ·BY ATTORNEY MITCHALS:

  ·6· ·Q.· Okay.· Bill of lading number --

  ·7· ·A.· They both -- they both could be on there.· I just

  ·8· · · ·can't remember off the top of my head.

  ·9· ·Q.· Do the shipment calendars receive -- that you

  10· · · ·received -- that J.B. Hunt receives from Mountain

  11· · · ·Valley, do those include PO numbers?

  12· ·A.· Yes, sir.

  13· ·Q.· What is a PO number?

  14· ·A.· To my knowledge, customer service enters an order

  15· · · ·from a customer, and it --

  16· · · · · · · · · ATTORNEY HANNA:· Objection, speculation.

  17· ·A.· It issues a PO number from the system.

  18· · · · · · · · · ATTORNEY HANNA:· Also best evidence rule

  19· · · ·as it relates to these documents.

  20· ·BY ATTORNEY CUMMINGS:

  21· ·Q.· How did you -- how did you come to know what a --

  22· · · ·what the PO number refers to?

  23· · · · · · · · · ATTORNEY HANNA:· Objection to form,

  24· · · ·foundation.

  25· ·A.· Just years of being here understanding, you know,


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  ·1· · · ·initially probably didn't have a clue the first

  ·2· · · ·year, but after being here a while, you kind of

  ·3· · · ·learn what that PO number actually means to a

  ·4· · · ·shipment.

  ·5· ·BY ATTORNEY CUMMINGS:

  ·6· ·Q.· Do you ever use or refer to the PO number as part

  ·7· · · ·of your job responsibilities at J.B. Hunt?

  ·8· ·A.· Yes, just when I'm talking to Mountain Valley most

  ·9· · · ·likely because they were the only ones that would

  10· · · ·know what that really means.

  11· ·Q.· And how do you use the PO number when you are

  12· · · ·speaking to customer service at Mountain Valley?

  13· ·A.· If there's multiple shipments to the same location,

  14· · · ·it just specifies which shipment we're talking

  15· · · ·about.· They don't actually have to be the same

  16· · · ·location, they could be anywhere, and it just helps

  17· · · ·them understand what shipment I'm talking about,

  18· · · ·you know.

  19· ·Q.·
       Q.· For Mountain Valley shipments to defendant,

  20· · · ·Absopure Water Company, have -- for any of those

  21· · · ·stiffness, has J.B. Hunt ever used brokerage

  22· · · ·services to take care of that shipment?

  23· ·A.
      ·A.·· Yes, sir.

  24· ·Q.· About how often does that occur?

  25· ·A.· Pretty rarely.· Maybe one -- I really don't know.


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  ·1· · · ·Maybe one out of ten or something like that.

  ·2· ·Q.· And the -- as to the dedicated trucks that are used

  ·3· · · ·for shipments from Mountain Valley to Absopure, are

  ·4· · · ·those two-way trips?

  ·5· ·A.· Majority of the time, yes.

  ·6· ·Q.· So it's correct then that for those shipments --

  ·7· · · · · · · · · ATTORNEY HANNA:· I'm sorry,

  ·8· · · ·Mr. Cummings, let me just put it on the record for

  ·9· · · ·that last question, objection, relevance.

  10· · · · · · · · · Go ahead.

  11· ·BY ATTORNEY CUMMINGS:

  12· ·Q.· And for the shipments that are from Mountain Valley

  13· · · ·to Absopure that are on J.B. Hunt's dedicated

  14· · · ·trucks, is it correct that those trucks bring

  15· · · ·back -- I believe you called it dunnage; is that

  16· · · ·correct?

  17· · · · · · · · · ATTORNEY HANNA:· Objection, relevance.

  18· ·A.· Empties, dunnage, return bottles -- I mean, there

  19· · · ·is different terms for that.

  20· ·BY ATTORNEY CUMMINGS:

  21· ·Q.· Does J.B. Hunt ever provide reports of any kind to

  22· · · ·Mountain Valley that provide information other than

  23· · · ·an individual -- other information on -- or

  24· · · ·statistics concerning individual customers?

  25· ·A.· No, it's just about our entire fleet, how the


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  ·1· · · ·performance of our entire fleet.

  ·2· ·Q.· So is it correct that the invoices -- do the

  ·3· · · ·invoices that J.B. Hunt provides to Mountain

  ·4· · · ·Valley, the weekly invoices for freight charges, do

  ·5· · · ·those include any information that are specific to

  ·6· · · ·individual customers?

  ·7· ·A.· We do have an invoice summary, then we have an

  ·8· · · ·invoice detail that would show, you know, an

  ·9· · · ·invoice summary may show how many loads, how many

  10· · · ·miles a detailed -- more detailed.· If they ask for

  11· · · ·a detailed invoice, it would show where those miles

  12· · · ·were ran to and from and which stops were made that

  13· · · ·sort of thing.

  14· ·Q.· And that detail -- would that detailed information

  15· · · ·include the identity of the customer that it was

  16· · · ·shipped to?

  17· ·A.· It would identify them with the PO number in the

  18· · · ·bill of lading number that I have referenced.

  19· ·Q.· And do all of the invoices -- weekly invoices that

  20· · · ·J.B. Hunt provides to Mountain Valley for it's

  21· · · ·dedicated truck services include these PO numbers?

  22· ·A.· Yes.

  23· ·Q.· So does -- other than the PO number, is there any

  24· · · ·information on these weekly invoices from J.B. Hunt

  25· · · ·to Mountain Valley that identifies the customer


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  ·1· · · ·that was shipped to -- or customers?

  ·2· · · · · · · · · ATTORNEY HANNA:· Objection, vague as it

  ·3· · · ·relates to who the customer is that we are

  ·4· · · ·referring to here.

  ·5· ·A.· It would have like an address on the detail report

  ·6· · · ·that I have spoken about.· It would have an

  ·7· · · ·address, so I guess it would identify city, state,

  ·8· · · ·address.

  ·9· ·BY ATTORNEY CUMMINGS:

  10· ·Q.· Are there -- when J.B. Hunt provides brokerage

  11· · · ·services to Mountain Valley, is there a -- do you

  12· · · ·have a set number of brokers that you work with?

  13· · · · · · · · · ATTORNEY HANNA:· Objection, relevance.

  14· ·BY ATTORNEY CUMMINGS:

  15· ·Q.· That J.B. Hunt works with?

  16· ·A.· No.

  17·
   7· ·Q.· Okay.· Who contacts the brokers in situations where

  18· · · ·there -- a brokerage is being used?

  19· · · · · · · · · ATTORNEY HANNA:· Objection, relevance.

  20· ·A.· The managers in my office, me and the managers in

  21· · · ·my office.

  22· ·BY ATTORNEY CUMMINGS:

  23· ·Q.· How do you determine -- how did you and the

  24· · · ·managers -- take a step back.

  25· · · · · · · · · These are the managers you mentioned


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  ·1· · · ·before that you supervise, correct?

  ·2· ·A.· Right.

  ·3· ·Q.· How do you and these managers determine which

  ·4· · · ·brokerage to contact for any given shipment?

  ·5· ·A.· We get quotes and typically we choose the lowest

  ·6· · · ·cost quote for Mountain Valley.

  ·7· ·Q.· I see.· And -- in the -- typically how much - how

  ·8· · · ·prior ahead of time prior to the shipment planned

  ·9· · · ·shipment date do you or your managers contact the

  10· · · ·broker?

  11· ·A.· Two to three days.

  12· ·Q.· When you or your managers contact a broker, do you

  13· · · ·have any say over which -- which trucking company

  14· · · ·the brokerage will use?

  15· ·A.· No, sir.

  16· ·Q.· It's correct then that when you contact the broker

  17· · · ·for a shipment, that is not one of J.B. Hunt's

  18· · · ·dedicated trucks, it's the broker that decides

  19· · · ·which actual trucking company to use?

  20· ·A.· Yes, sir.

  21· ·Q.· Are you aware of whether or not Mountain Valley has

  22· · · ·a contract with Absopure -- the defendant Absopure

  23· · · ·Water Company?

  24· ·A.· I'm not sure.

  25· ·Q.· Okay.


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  ·1· · · · · · · · · ATTORNEY CUMMINGS:· Okay.· I believe

  ·2· · · ·that's all the questions I have.

  ·3· · · · · · · · · ATTORNEY HANNA:· I have like two

  ·4· · · ·follow-up.

  ·5· · · · · · · · · · · ·RE-EXAMINATION

  ·6· ·BY ATTORNEY HANNA:

  ·7· ·Q.· Mr. Rogers, in your conversation with Mr. Cummings

  ·8· · · ·you referred to Absopure -- you referred to "our

  ·9· · · ·customers."· When you say "our customers," are you

  10· · · ·referring to Mountain Valley's customers or

  11· · · ·J.B. Hunt's customers?

  12· ·A.· Mountain Valley's customers.

  13· ·Q.· Okay.· And you discussed that the PO numbers and

  14· · · ·the customers listed on these PO numbers -- again,

  15· · · ·are you referring to the customers of J.B. Hunt or

  16· · · ·Mountain Valley or Absopure Water Company?

  17· ·A.· Mountain Valley.

  18· ·Q.· Okay.· Mr. Cummings asked you some questions about

  19· · · ·who owns the goods once they're loaded on the

  20· · · ·trucks and I believe you testified that you don't

  21· · · ·know.· Based on your -- the work that you do and

  22· · · ·the interaction, what is your understanding of who

  23· · · ·owns these products that are --

  24· · · · · · · · · ATTORNEY CUMMINGS:· Objection, form.

  25· · · · · · · · · ATTORNEY HANNA:· Let me finish first,


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  ·1· · · ·Mr. Cummings.

  ·2· ·BY ATTORNEY HANNA:

  ·3· ·Q.· What is your understanding of who owns the products

  ·4· · · ·that are transported by J.B. Hunt?

  ·5· · · · · · · · · ATTORNEY CUMMINGS:· Objection.

  ·6· ·A.· I have never really thought about it to be honest,

  ·7· · · ·so I'm not really sure.

  ·8· ·BY ATTORNEY HANNA:

  ·9· ·Q.· Sure.· Does Mountain Valley check in from your --

  10· · · ·strike that.

  11· · · · · · · · · From your work does Mountain Valley

  12· · · ·check in and have a concern of what's going on with

  13· · · ·these products and to ensure that they're safe and

  14· · · ·being delivered?

  15· ·A.· Sure, yeah.

  16· ·Q.· Does it seem to you from your interactions that

  17· · · ·Mountain Valley owned these products?

  18· · · · · · · · · ATTORNEY CUMMINGS:· Objection.· I'm

  19· · · ·sorry.· I'm sorry.

  20· · · · · · · · · ATTORNEY HANNA:· Sure.· Let me ask it

  21· · · ·again so we can just get a clear record.

  22· ·BY ATTORNEY HANNA:

  23· ·Q.· Did it seem to you from your interactions that

  24· · · ·Mountain Valley owned these products as they are

  25· · · ·being transported by J.B. Hunt?


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  ·1· · · · · · · · · ATTORNEY CUMMINGS:· Objection.

  ·2· ·A.· It didn't seem that way.· It just seemed they were

  ·3· · · ·concerned about meeting a delivery time that we

  ·4· · · ·promised to our customers.

  ·5· ·BY ATTORNEY HANNA:

  ·6· ·Q.· Okay.· That's fair.

  ·7· · · · · · · · · ATTORNEY HANNA:· I think I'm done, but

  ·8· · · ·let's go off the record.· I think we're done for a

  ·9· · · ·minute.

  10· · · · · · · · · VIDEO TECHNICIAN:· All right.· Going off

  11· · · ·the record.· The time is 18:43 UTC.

  12· · · · · · · · · (Off the record at 1:43 p.m.)

  13· · · · · · · · · (Back on the record at 1:47 p.m.)

  14· · · · · · · · · VIDEO TECHNICIAN:· We are back on the

  15· · · ·record.· The time is 18:47 UTC.

  16· · · · · · · · · ATTORNEY HANNA:· I have no further

  17· · · ·questions.· Thank you for your time today,

  18· · · ·Mr. Rogers.

  19· · · · · · · · · ATTORNEY CUMMINGS:· No further questions

  20· · · ·as well.· Thank you.

  21· · · · · · · · · VIDEO TECHNICIAN:· All right.· This will

  22· · · ·conclude today's deposition.· The time is the 1848

  23· · · ·UTC.· We are off the record.

  24· · · · · · · · · (The deposition was concluded at 1:48

  25· · · ·p.m. Signature of the witness was not requested by


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  ·1· · · ·counsel for the respective parties hereto.)

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  ·1· · · · · · · · · · ·CERTIFICATE OF NOTARY

  ·2· ·STATE OF MICHIGAN· · ·)

  ·3· · · · · · · · · · ) SS

  ·4· ·COUNTY OF WAYNE· · · ·)

  ·5

  ·6· · · · · · · · · I, RENEE J. OGDEN, certify that this

  ·7· · · ·deposition was taken before me on the date

  ·8· · · ·hereinbefore set forth; that the foregoing

  ·9· · · ·questions and answers were recorded by me

  10· · · ·stenographically and reduced to computer

  11· · · ·transcription; that this is a true, full and

  12· · · ·correct transcript of my stenographic notes so

  13· · · ·taken; and that I am not related to, nor of counsel

  14· · · ·to, either party nor interested in the event of

  15· · · ·this cause.

  16

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  22· · · · · · · · · · · · RENEE J. OGDEN, CSR-3455

  23· · · · · · · · · · · · Notary Public,

  24· · · · · · · · · · · · Wayne County, Michigan

  25· · · · My Commission expires: June 21, 2025


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